 Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 1 of 50 Page ID #:1

                                                                                         tL~tD
 1   Armin Abazari
     DPM ~ JD Candidate
 2   arminabazari@yahoo.com                                             2U19 JUG 27 PM t ~ 57
     14 National Place                                                        ...f , _         F       ,,, ,-7
 3   Irvine California 92602                                            €,;                        ~.,-k,e.~~~
                                                                         6~...~,~ '
     Telephone:(714)930 5251                                                             _., . .
 4   Pro Se

 5      UNITED STATES DISTRICT COURT CENTRAL DISTRICT OF CALIFORNIA
                       SOUTHERN DIVISION —SANTA ANA
 6
     Armin Abazari, DPM,JD Candidate                       Case No.: 8:19-~v-01290 DMG (FFMx)
 7
                           Plaintiff,                       COMPLAINT FOR:
 8                             vs.                      1. WIRE FRAUD 18 U.S.C. §1341;
                                                        2.WIRE FRAUD 18 U.S.C. §1341;
 9   United States Department of Education;             3.PEONAGE 18 U.S.C. §1581(A);
     State of Illinois; Navient Solutions, LLC, a       4.PEONAGE 18 U.S.C. §1581(B);
10   limited liability company;                         5.SALE INTO INVOLUNTARY
     Rosalind Franklin University of Medicine              SERVITUDE 18 U.S.C. §1584(A);
11   and Science, a corporation; and DOES 1             6.SALE INTO INVOLUNTARY
     through 55,                                           SERVITUDE 18 U.S.C. §1584(A);
12                           Defendants.                7.WIRE FRAUD 18 U.S.C. §1341;
                                                        8.WIRE FRAUD 18 U.S.C. §1341;
13                                                      9. WIRE FRAUD 18 U.S.C. §1341;
                                                        10. RICO 18 U.S.C. §1962(c);
14                                                      11. CONSPIRACY TO COMMIT
                                                            VIOLATION OF §1962(c):
15                                                          18 U.S.C. §1962(d)and 42 U.S.0
                                                            §1985(3);
16                                                      12. FEDERALLY PROTECTED
                                                            ACTIVITIES 42 U.S.C. §1983 and
17                                                          18 U.S.C. §245(b)(1)(E);
                                                        13. CONSPIRACY AGAINST
18                                                           RIGHTS 18 U.S.C. §241
                                                             and 42 U.S.C. §1985(3);
19                                                       14. WIRE FRAUD 18 U.S.C. §1341;
                                                         15. WIRE FRAUD 18 U.S.C. §1341;
20                                                       16. RICO 18 U.S.C. §1962(c);
                                                         17. CONSPIRACY TO COMMIT
21                                                           VIOLATION OF §1962(c):
                                                             18 U.S.C. §1962(d) and 42 U.S.C.
22                                                           §1985(3); AND
                                                          18. DECLARATORY ACTION.
23
                                                            JURY TRIAL DEMANDED



                                                    1
 Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 2 of 50 Page ID #:2



 1           Plaintiff Dr. Armin Abazari, by and through himself, Pro se, filed the following

 2   Complaint, complaining of Defendants Rosalind Franklin University of Medicine and

 3   Science, Navient Solutions, LLC., American Podiatric Medical Association, United

 4   States Department of Education, State of Illinois, and Does 1-55 ("Defendants") as

 5   follows:



 7                               JURISDICTION AND VENUE

 8           1.      This Court has original subject matter jurisdiction pursuant to Article III,

 9   §2; 28 U.S.C. §1331 (federal questions); 28 U.S.C. §1443 (civil rights, 42 U.S.C. §1985);

10           2.     Additionally, this court has subject matter jurisdiction pursuant to 28

11   U.S.C. §1332 because of complete diversity among the parties:

12           a.     Plaintiff Dr. Armin Abazari ("Dr. Abazari") is domiciled in California;

13          b.      Defendant Rosalind Franklin University of Medicine and Science

14   ("RFUMS")is a corporation organized and existing under the laws of the State of Illinois

15   with a registered institution at 3333 Green Bay Rd., North Chicago, Illinois 60064;

16          c.      Defendant American Podiatric Medical Association("APMA")is a

17   corporation organized and existing under the laws of the State of Maryland with a

18   registered office at 9312 Old Georgetown Rd., Bethesda, Maryland 20814;

19          d.      Defendant Navient Solutions, LLC ("Navient") is a Delaware corporation

20   organized and existing under the laws of the State of Delaware with a Principal registered

21   office in 2001 Edmund Halley Drive Reston, Virginia, 20191;

22          e.      Defendant Department of Education ("DOE")is a government department

23   organized and existing in the District of Columbia with headquarters in the Lyndon




                                                  2
 Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 3 of 50 Page ID #:3



 1   Baines Johnson, Department of Education Building 400 Maryland Ave,SW Washington,

 2   DC 20202;

 3           f.      Defendant State of Illinois is a state government with a main office for the

 4   Governor of the State of Illinois at 207 State House, Springfield, Illinois 62706; and

 5           g.      Each and every Defendant, as herein identified, has separately caused Dr.

 6   Abazari to incur greater than $75,000 in damages;

 7           3.      This Court has personal jurisdiction over the Defendants in that

 8   Defendants have purposely and voluntarily directed their activities into this District;

 9   Defendants have availed themselves of benefits, profits, and protections from a direct

10   interactive FAFSA online application and business transaction directed into this District,

11   where personal information was exchanged for authorization securing Stafford

12   Subsidized, Stafford Unsubsidized, Grad Plus, Direct Subsidized and Direct

13   Unsubsidized funding for the Podiatry Program; Defendants purposefully use interstate

14   wires directed into the State of California to conduct business transactions in furtherance

15   of the alleged causes of actions herein; Defendants purposefully and voluntarily reach

16   and distribute the Podiatry education by advertisements to a national audience, with the

17   use of the name, reputation, and trademark of the of The Department of Education, of the

18   United States of America, to hold out to podiatry students in every state, "the quality of

19   the podiatric medical education program and the continued commitment of the institution

20   to support the educational program," by and through the direct use of a single and

21   centralized interstate wire transmission, IPEDS Data Center; Defendants actions are

22   criminal in nature and this District has a cognizable interest and right in protecting its

23   citizens from said acts herein alleged; Defendant's conduct and connection with this




                                                   3
 Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 4 of 50 Page ID #:4



 1   District are such that they reasonably anticipated being hailed into court in this District;

 2   and the causes herein alleged arise out of the contact with this District.

 3           4.      Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(3) because

 4   the Defendants all residents of different States and are all subject to this District's

 5   personal jurisdiction.

 6

 7                                            PARTIES

 8           5.      Dr. Abazari is and at all times relevant hereto was, a person domiciled in

 9   the State of California, County of Orange.

10           6.      Defendant Rosalind Franklin University of Medicine and Science

11   ("RFUMS")is, and at all times relevant hereto was, a Company with its principal place

12   of business in the State of Illinois.

13           7.      Defendant State of Illinois, is and at all times relevant hereto was, a

14   government organized with headquarters in the State of Illinois.

15           8.      Defendant Department of Education ("DOE")is, and at all times relevant

16   hereto was, a United States government department organized with headquarters in the

17   District of Columbia.

18          9.      Defendant American Podiatric Medical Association("APMA")is, and at

19   all times relevant hereto was, incorporated in and with a principal place of business in the

20   State of Maryland.

21           10.    Defendant Navient Solutions, LLC ("Navient")is, and at all times relevant

22   hereto was, incorporated in the State of Delaware with a Principal Place of Business in

23   Virginia.




                                                  n~
                                                  .
 Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 5 of 50 Page ID #:5



 1           11.     Does 1-55 are, and at all times relevant hereto were, by the nature of

 2   their conduct, liable to Dr. Armin Abazari for the misconduct alleged herein. As such

 3   time the true names and identities of the Doe Defendants are unknown as Dr. Abazari has

 4   not ascertained the identity of Defendant's agents, representatives, servants and

 5   employees that performed acts outside the course and scope of such agency and/or

 6   employment and without the permission of Defendants. Furthermore, Dr. Armin Abazari

 7   has not ascertained the identity of the other co-defendants that may have acted in concert

8    with one or more of the Defendants, or contributed to or be partially liable for the

 9   infringement and/or other claims alleged herein. Dr. Armin Abazari will seek leave to

10   amend this Complaint to allege their true names and capacities when the same have been

11   ascertained.

12

13                  GENERAL ALLEGATIONS COMMON TO ALL CAUSES

14           12.     RFUMS,by and through its admissions faculties, with knowledge and

15   intent made use of interstate wires to court Dr. Abazari, a California resident, to induce

16   him into an agreement with Scholl, and to solicit Dr. Abazari to change his position in

17   "decid[ing] between schools", to his detriment, in leaving California for RFUMS's

18   program in Illinois, resulting in 272,000 in debt, without the "capab[ility] of servicing

19   [his] student loan debt":




                                                  5
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 6 of 50 Page ID #:6



                                                                                                           9.bto
                                                                                                                9


                                                                                                             .
                                                                                                      r
                                                                                                 a

              November 19, 2008

              Amtin Abazari
              14 National Place
              Irvine, CA 92602

              Dear Mc. Abazari,

              Congratulations. I am pleased to inform you that the Admissions Committee has acted favorably
              on your application for admission to the Di. William M. Scholl College of Podia~ric Medicine at
              Rosalind Franklin University of McAicine and Science. You have been accepted as a member of
              the Fvst-year class that will entee in August 2009.

              Pleave Bead cazefully the attached documents noting the deadline for your response to this ofr'u
              and other matters peninent to your enrollment in the College. Print, sign and rewm a copy of the
              0[fee of Acceptance form along with your minion deposit to the Scholl Office ul Adrtussions by
              the deadline date. Please keep us informed of any changes in mailing addresses or any other
              vital information. Beginning in January 2009 you will receive information, which wID help in a
              smooth transition into Scholl College in August 2009.

              The Comrtti~tee extends congratulations ~o you on your fine academic record and personal
              qualifications. We sinceeety hope that you will choose to eneoll at Scholl College.

              If you have any questions regazding your enrollment, please do not hesitate to contact the Scholl
              Admissions Office by calling(SW)843-3059 oe(847)578-8400.

              Sincerely,
                I.....,.. 3,dl +~, D~,..
             'ecence B. Albrigh~.PM.
             ]
             Dean, Scholl College



              Attachments

1

2           13.            RFUMS,by and through its admissions faculties, with knowledge and

3   intent benefitted from the use of interstate wires direct into California, courting Dr.

4   Abazari, a California resident, to induce him into an agreement with RFUMS and to

5   solicit Dr. Abazari to change his position in "decid[ing] between schools", to his

6   detriment, in leaving California for RFUMS's program in Illinois, resulting in 272,000 in

7   debt, without the "capabl[ility] of servicing [his] student loan debt":




                                                                                     D
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 7 of 50 Page ID #:7



     RE: Armin Abazari-Scholl inquiry (Hello MandYl                                                                                        °""",a~^""~a.,~

             M~inla.Ay MnnM ~'~Y.Aaamnartltft~malnOh'a.Ntin.eau>                                                                           nw ....we ei Fi. ax
          '' To: 4rnvi. 4tuuevi eannMapua~~ahw.cmn>
             Cc: vounO.Nim+.^i.i. ~Ku~meA , ~.~un9£lmsaNrMfrank+n.sn•.n



                  ~. ~t~~                         ifs   ~n.~.ua .~(~IV~..~t -.. .    d        ..ewx         ~.xl ~. ~~~~ e~i yr   4 .[).~~rykr. 1~W.      t.


     .~~         ..nAJ  U~. s..,,~nn           ~             +rc                  ~                          -~I.~.i           r        ~i ryxb~n; In~u~l,i~~.{r
          •n I F'~mx      ~ :v,.na g    k              - I.~x~~i v.        II      E::ia1            ',1'. ~y-¢      ~.~_~rlrnn   .i n~~r,f ~                a Yhi~
        wel. lxlnw ,l    rn.ir. ia2          mail 3-             u. l:.     bixI txi~nr t        II       -'hr            ~nlanlp      pwui ~: xl~ l:u, mnL<i
      ~_]I ... I,1;i   ~.~..u.eAcl   .i..,~f N(xi,ll4 t.~. u.i~.n,.       hir l,~l sal anil-I~h ~cy~, ~~•ei~rl~ ~i~h...

     F9c: )c~ mr An~iw if ?„~~ b:a- m. ,rth.r q~~rsrx~r.?
     5c>
     Afam



     f,an: Nmin Aham~ ~maAu'.vmimCara~iLvaM1mcoml
     Tl: SuMay, Nrnmiber 23, 2W8 1:57 PM
     To: MNnhmtlt, MnrMy
     wejen: rv~m n~ub:xnai ~nywn
                               : r ~No rnanai)
     Grxi Mrrtining \frs. Mnruiy Mci~~bnrdr,

     Y npEwiugizr lirr not ~eew~g Mek ~u.   ,au ranee: Nun I junT eM hscA hwn my ~nte~eitw M DMi'. 0.'nuLi is be ryii~ible tin' me ro e~Icrul fhe deuliine o~ 12i>
     for m)' vcccp~ancc u+Scholl bnua~c 1 wm[ 4~ Aavr w little Rrore cimc ro dcc~idc h~hcccr schwls a~A anenJ a couple mare in4n'icws. 7 hour (:alitomia's
                ~u Js ]'_:5 and 1 a.uuced more time w see the axuh> of iL';n imervirx~ a, well.. l ulwi w-nx wmMrrinp if ~ur>siNtz wmild I lv: ahlt N~ extrnd my
       iunl'scholxtxWp oll'er oi -NNM)'~ 1 wml w ixAr the Icusi amount of niulunt lo:u~s pi~siFlc su 1 can finish Pwliam school with thx lcas~ amount ui JeM. i
     aq~ke W 7empl. un ii:c plxxie :axl they arc u~iltiug ~o nF1'er up to 91N1U w v.lxilnrrc4ip mun.~. Tlwnk you ag.~in'.H.s. MmidY' M:inFnrdf.


     0csi,
     Armin Abaiari
1

2                      14.                  Through the use of interstate wires directed into the State of California,

3   "Irvine CA 92602," RFLTMS derives a benefit of a commitment to enroll from a interstate

4   transaction of $500 dollars, in exchange for a seat and signed offer of acceptance, in

5   furtherance of securing Dr. Abazari's enrollment into RFUMS's Podiatry program:

                                                                                                                                    .°<<

                                                                                                                                           r

       December 3, 2008

      Armin Abazari
      14 National Place
      lrvine, CA 926(Y2

      Dear Mr. Abazari,

      This lettee ac}~owled@es the receipt of your $500 deposit which will hold a place in the fall 2009
      Dr. Williwn M. Scholl College of Podiatric Medicine Class oC 2013 at Rosalind Franklin
      Univecsiry. I am delighted by your decision to attend what we believe ro be the premiere
      medical college in the country.

      Please keep us informed oC any changes in mailing addresses oe any other vital infortna[ion.
      Dueing the coming months you will receive information which will help in a smooth transition
      into Scholl College in August 2009.

      If you have any questions, please feel free to contact me at kim.young@rosalindfranklin.edu or
      1.800.8433059.

      Warm regards.
       i                             ~...
       i ,•         i,
      Kimberly Yoilfi@     ~~
      Assistant Director oC Admissions
      Scholl College




7                     15.                 RFUMS benefited from the use of interstate wires directed into the State

8   of California, with an interactive link transferring Dr. Abazari to the DOE's federal

9   student aid application—"www.fafsa.ed.gov"—where Dr. Abazari provided personal


                                                                                                                            7
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 8 of 50 Page ID #:8



1   information, from the State of California, where he was domiciled, over an interactive

2   online application form,in exchange for authorizing federal funding for RFLJM's

3   education, on behalf of Dr. Abazari, a California resident.

        Fwd: Welcome m RFUAAS -From the Finaniel Aid Office
        p       "Amw:Mxim"~vrmi~u4exulG`Y.aMw.rAvru
            To: anikLiSh~§'Ydtmo.ovn




       bent firm my iPMar±



              Fran:"(:.mbb. Meksm" eY~.N!ASd.C:fb~~:iLek^~GA7?!G:.fAN
              Dab; MercA 10. 2W9, ~23fi3B PM PDT
              Ce:'UaGa:m. 4nYam`c~'3ry4~Y:.2~L~P_2~.'s~M'LrB➢xAn q,~;.~
              Su~Jxi: WNeomero HFUM9-From lMF{N AItl MOe~




             fht F'inane:,il AiA Office .nng~srulntM1s yon nn }ronr ncCcTrt~ncr ~n N~xelia~ Franklin i;ni~ea:ty ~~f Wedreme :md Scien.t
             '
             tHfUYI51. Thx Finun:iul ~LJ Oifice is commiu~xl m helping students >rave the funding ne:c~sep' to rcali~e their
             eSw~ntional goals.

               Ylruw: cunµ+lr:e iLc ii~~lowinga~ym:

              (1 i f;umplNe Wr 2UU9-TfllO }'AF\A
              ~Ve re.mnmrnd that )'ou a~yty as rack as pexsi6le cur Fioaneial nib. Vixit wr~w.tn6a.M.sor to camplem ceur Free
              Applicutiwi fir Firk~ral Swdem Tid. 1"he. RPIiMti IzJerxl .chw~i c~wlc iv 00(659. ~ni~kxrt* Mann ng ui ai.~end the D~.
              n'iiliam ii. ~chnll C~.Ilc~c of Yodiam. \ieli.in. am aixouregui w include [heir parenis inturtnatiUn an SAC 1~A FSA.

             (2j Complete tAe RFUMS Flaendsl 41d Applicatlnn ~~              pg~
              Atw~~hed are ~~~yli~~ation mxir iui> In ix ~nmp)etaJ and mnrriul u. iM~ Fiiu cixl .lid (Sfficc. Refer ~o the. Na..~ &x~:+vei
              l'hxklis~ m mnk...:um all ne:~.azy- ..peps hay.. bmn .nm~l.rtd. !~Fry•1i:nlien
                                                                                           ' Fo»ii< wi0 he n~»ilab{e .m the l~inaucial Aid
              wrFsiu. athr Fr6mury 1 tm,?lug.

             (71 Cdeckyour cmlit
             Fmiding yanr .duca~oa mar mein horrew.,ng loans li»m }+ii~u~e s~wres. Ym~atc lo:ms,.acU as dx (imd Pli;~. requim
             lewd crc3it. 1t is im~n~rta~f to begin c.lin~l kn:ruing lhc~siatus afyour errdit. 1"ou may oAtain a Tree annual crtJit rc{n~k b~•
              Y~~ai~ing ~r~ry~.,anan.?Itre*.liir~xrc9w.

             (47 Prepare .ouexcU b lice on r s~udenE bwdgei
              SmJ<nu may ra~eirc :~ n:uimum of SI.:W pu monM fur li~~ing :xpens~ while cnrul;cJ at Rw:i!ind I~:ankiin Unie~:ri[y .
              F~alna~e yow'pr~k :wi .+pnui~ng?~~~hi1. ~mw~, nrul !hick aAnin Low ynu can irm~rnir.. ~o~ir li~~in~ sx}+en5~r.

             (s~ rsK.aw~ ~~~~~ roman era e<d~
              Fu;us on payinc oRbr Daying done )'iwr cnait card JeM hclure yuu ~~n;,r .shnoL ~ioi mto will mis n.•;p year crzdiy ~u~
              hilt aiu~ he!p }~on 1ri chn~ .m Nndgr; an n eiuucn~. 41aik.~ n cnrznuiunra; nart to nre y~~ur ~Lurye carols.

             (5)t.uuk fr Grr munm~
              Look fpm setwlarahip; anJ dis.ues your hormwiug plans u'rth your family. Y'ou can u e an on~ine xatt~h engine, u:!: as
              »:w..w..fxstwcb...c.2!!!, i•,6•r srnrn nn yaR scA~ni,uslup sea,cn.

             (?)Learn abunl ban uyliona
              1~ ix important ~ha~ you read and w~dastend th< feu a cif flix L,ans you are applying Gr. to fun4 your praivate ed~acmion. If
                ou he~'c <p~c~ti:m+, con!act ~Rc ~invncial Aid Office,

              fF1 Chcx4 Me x~atne ot~unr preriou5 Mu¢atiunal bem
4
       If you aze rnmntly enrolled in echoo4 find wt haw much grace you will have w yaw lams. lY~l you vced to rnty
       repaymrnt before enrolling in your RFI7M5 p~agem? Rosalind Flankliu Uvivusity ie a putirip~[ ~n the National Swdeot
       Clearinghouse, which updei~ Irndws of atudeet saws changes. Find oul if yoiv prerious lenders participate iv ~e
       National Student Cleannghouee by going m www.mld~.ed.eev.I!your previous lender are ool lis~c~ you will need m file
       a paptt in-school deFrot requeet when you reAater for clasars.

      (9)FERPA
       Your financial aid record at RFIJMS ~s protected order tLc Family F~ucatloml Rights and Privacy Act (FERPA). Any
       infortna~ion ebom yourFclef aid including bortox~ng hinory, credit decisions, end loan amounts cenuo~ be relemed ro
       anyone wiWaul your prior wrineo pe.misaiov. If you would like 10 authorize esa of your 5oancial aid mfwmation ro an
       indinduel, you muei wmpine the enachrd Auworistion ~n Releeee Wariw farm and reavn it with yow epplica~on
       packet, You cm review the mWe FERPA polity oo the Fivaa:ial Aid webai~e.

      IF you lave any questions abou[ Finmcial Ai4 you may comact our ofRcc az 847-578-8382 m o-mvl us et
      f     'al 'd!l aJindf ~kllu ed .

       Once again, congrehJetions on yaw acceptance and we look Corward w meeting you eaon!

       Sincerely,

       Maryann DeCaire
       Associate Yce Presidml of Enmllmrnt Servires

       Jessica 5. Barthule
       Financial Aid Cowselor

      Melissa L. Crabb
      Financial Aid Co~msdor

~
~




                                                                                                               ~3
 Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 9 of 50 Page ID #:9



 1             16.            RFUMS benefited from the use of interstate wires directed into the State

 2   of California, by directing Dr. Abazari to the DOE's federal student aid application-

 3   "www.fafsa.ed.gov"—where Dr. Abazari provided personal information, from the State

 4   of California, where he was domiciled, over an interactive online application form,in

 5   exchange for authorizing federal funding for RFUM's education, on behalf of Dr.

6    Abazari, a California resident:


          FAFSA ResuRa - 2009-2010 Student Ald Report
          From: ^Federel Student Aid'eFedaralStudenG4idFAFSA~cpsemail.ed.gov>
             7a arminabazari~yahoo.com


          Dear ARMIN,
          Your Free Application for Federal Student Aid (FAFSA) has been processed and the data will be made available to the schools) listed on your FAFSA.
          The financial aid office at your school will eontact you if additional informatlan Is required.

          Your Student Ald Report(SAR), which contains a summary of your FAFSA informetlon, is now available for you online. Review your SAR as soon es
          possible to see tl any addttional infortnatlon or conections may be needed.
          Use the Ilnk below to view your SAR. You can select the link or copy the errtire link and paste it irrto the address or location line of your Web browser.
          Make sure you copy and paste the entire link; it may appear on multlple lines.

          htlrsJHafsa ed aov/FOTWWebA~a~~d90?kew—c7i3x3S70rbHv7YfExX7u=
          If you are an AOL user, click here:
          ca href="htt~sJlle~_ed.aov/FOTWWeb/LnWsaN90?key~7i3W.iS70rbHv7YfExX7o=='Svew SAFWe>

          If you encounter any problems retrieving your SAR,go to www.falsa.ed.govRag016.htm for assistance. You may also call the Federal Student Aid
          Information Center at 1-800-4FED-AID (1-800433-3243).

          Thank Vou,
          U.S. Department of Education
          Federal Student Aid

7

8             17.            From said use of interstate wires directed into the State of California,

9    connecting Dr. Abazari to the DOE's federal student aid application-

10   "www.fafsa.ed.gov"—where Dr. Abazari provided personal information, from the State

11   of California, where he was domiciled, through an interactive online application form, in

12   exchange for authorizing federal funding for RFUM's education, on behalf of Dr.

13   Abazari, the DOE authorized the official act in distribution of federal funds on behalf of

14   Dr. Abazari to RFUMS, an Illinois institution:




                                                                                         D
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 10 of 50 Page ID #:10



         Sy~;a^t: Dbbursamwil NatlRotlon 11.0a.08
            Crafe: Nova~Mer 5, 2009 m 6:0.5 NA
              Ra'. Mla1rl.NmM simt+..iL.~'ti::',r.:::,.:.c.c^9


         Mnin Aberali:
         0463381

                                                     PLEASE READ CAREFULLY


         Tlus notice is to inform you that a financial aid award has been diaburaed on 11/04/09 to your
         University Smd~t Account where yaur Nihon end fees are charged.

         ifthe tuition end fees due aze paid in full by this disbursement leaving additioml financial aid left ava
         for living expeuaes, you will not receive your overyayment anal a4er the period (teem) started that the
         aid was disbursed for. For example,ifthe aid was disbursed was fm the Fe112008 term, the
         ov~paymrnt will not be released unW after the Fa112008 te`m started

         If you have questions regarding your Fiumcial Aid Package, nleave Au not reo(y ro Wis nnall as tliis
         emailu eennated hom We Business ORice. Contact the Financial Aid Office ac 847-578-3217 with
         any questions ar requests you may have.




         aaa9wm~r~                 v~ns~.ama                     sio.6s~.00        stosas.~


         You have the right m cancel all or a poRio¢ of your fimnciel aid disbursements)by contecri¢g the
         Financial Aid Office at &XX-XXXXXXX.


        Please note that the "Gross AmounP'is the loan amomt you obtained from your lrnder end the
        "Disbursement to AccounC'amount is the Grose Amount less any origination and default feea set by
        your Irndv.


         We would like m remind you of the new regulations passed by the Departrnrnt ofEducation. They may
         have e si~i5cant impact o¢ you. They are:
                 Financial Aid must not pay for hblary fees, parking tickets, or housing damages.
             • Finmcial Aid received fm e specific term carrot cove future m previous term chazges in
                 excess of5200.00
         Please make azrengemenu to have these items paid if yw 6ave incurted them.




         Sincerely,




 2               18.                 From specified use of interstate wires represented by allegation 17,

 3   RFUMS directly received profits in Scholl College of Podiatric Medicine("SCPM")

4    tuition, housing rental payments and a continued commitment for the rest of its tuition:




                                                                                              10
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 11 of 50 Page ID #:11




 2           19.    RFCTMS benefits by participating in the federal aid program, reaching and

 3   distributing its educations by advertisements to a national audience, with the use of the

4    name, reputation and trademark of the United States Department of Education, deriving

5    profit in holding itself out to podiatry students as "the quality of the podiatric medical

6    education program and the continued commitment of the institution to support the

7    educational program," and being allowed to profit from participation in the Stafford and

8    William D. Ford program, by and through the direct use of a single interstate wire—a

9    centralized IPEDS Data Center—soliciting in every state:




                                                  11
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 12 of 50 Page ID #:12




      National Centerfor Education Statistics
      IPEDS Data Center
      Rosalind Franklin University of Medicine and Science
      UnitID             145558
      OPEID              00165900
      Address            3333 Green Bay Road, North Chicago, IL, 60064-3095
      Web Address        www.rosalindfranklin.edu/


                                                                   I~ N~~d~r ~t~i~-9~
      Insl lut on: Rosalind ~ranW n University of Medicine and Sciance( d5558)
      ~ovasl

      Part A -Educational Offerings
      1. Which of the following types of instructioNprograms are offered by your institution?[Check one o: more]
     !f your institufion does not offer occupational, academic or continuing professional programs, you are not expected to complete this
     or any other IPEDS survey.

              ~       Occupational, may lead to a certificate, degree, or other formal award

              ~,,,    Academic, leading to a certificate, degree, or diploma

              ~       Continuing professional (posthaccalaureate only)

              ,,,_    Recreational or avocational (leisure) programs

              ~,,,    Adult basic or remedial Instruction or high school equivalency

              ~..     Secondary (high school)


      Instl4ution_ Rosalind Franklin University of Medicine and Science (a 45558}
      inovasl
1

      Part C -Student Services -Distance Opportunities
      4. Which of the following se[ectad student services are offered by your institution? [Check all that apply]

                     Remedial services

                     AcademiGcareer counseling services

                     Employment services for current students

                r,,, Placement services for program completers

                     On-campus day care for children of students

                r-
                     None o(the above
/
I




3             20.          The State of Illinois benefits by participating in the federal aid program,

4   promoting educations provided by instate institutions, like RFUMS,to a national

5   audience, with the use of the name, reputation and trademark of United States

6   Department of Education—specifically using the federal marks Podiatric

7   Medicine/Podiatry" and "51.210"—to represent instate education as "the quality of the




                                                                         12
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 13 of 50 Page ID #:13



 1   podiatric medical education program and the continued commitment of the institution to

 2   support the educational program":


                                   .        _~ '~
                                         ~~Q~~Y M~
                                           Ifs '



           ~~~~                            Illinais Higher Education Enrollments &DegreesSystem
      Search Result:
      5iarvey:                 Fall Enrollment(2009)                  Enstitution Sector:                                                        All Sectors and Institutions
      Field of StudylPragrams: Podiatric Medicine/Podiatry. [57.2101] Degree Level:                                                              All Degree and Certificate Groups
      Grcup by:                Year,Sector,Institution,Deg. Lvl       Result:                                                                    Numbers
      4 rows) returned from the query!
                                                   _....._                      =;
       Microsoft Excel,..
                                                                                                    Crg.                                                                              1•~sa
        Veer     Sr,:tor In;.!ut;~n                                                                  ~i~~                                                   fiAair        -;~ma!e

       2C ~~~~      ~~      R     ~~IirnJ Franklin Unr> r.rt; : ~f r,ledicine 8                 ~    ~d          G~ ~,.t~,r<<i Protesslonal                                                   3801
                                                                                                                                                                pp3           1571
                           s ~ n:e                                                                               i ractice
                          .,.,                                ,~

          ..-.y<:..,...~i. s~ ".'""ter ~- -:;      ......-=: ..a:~.iitch:::,.        ;,,:,;;;               ......n ,;;,,   „""~";_'~',"
                                                                                                                                      '- -~'z--;;'~""""~'               ;
                                                                                                                                                                        ~;'~n; ,. .. ;,       __..,

       2009 !       3                                                                                                                                           223'.         157 ;           380,
                                                                                                                      IndependEntN~PTotal
       2pflg                                                                                                                   ..2009 Year Total <            . . 223         157             38Q'.




 3

4                21.              At the time of enrollment 2009, RFUMS knowingly and willingly

5    advertised and derived business from targeting out of State residents through: statement

6    of "easy access" to either Milwaukee or O'Hare International airports—serving air

7    transport from the State of California; listing of "Places to Stay" at numerous hotels;

8    organizing and creating institution's "RFU bus" service for out of state residents; and

9    listing the transportation rates for airport taxis:




                                                                                                    13
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 14 of 50 Page ID #:14



                                                                                                  ry ~f




         Lacation
         Rosalind Frenklin University is located approximately 30 miles north of downtow
         The proximity of our campus to major highways allows easy access to General N~~«u~~~
         International Airport (Milwaukee, WI), O'Hare International Airport (Chicago, IL) and the
         greater Chicagoland area.
         *If flying, we strongly discourage Midway Airport (Chicago, IL) due to the expense
         of transportation from that airport.

         Places ~O

         Candlewood Suites Hotel
         1151 S. Waukegan Rd.
         Waukegan, IL 60085
         847.578.5250
         A full service hotel with free transportation to the University.

         Comfort Inn
         3031 Belvidere Rd.
         Waukegan, IL 60085
         847.623.1400
         Free deluxe continental breakfast and free transportation to the University
         www.comfortinn.com

         Hilton Garden Inn
         26255 N. Riverwoods Blvd.
         Mettawa, IL 60045
         847.735.8374
         A full service hotel with easy access to Rt. 60 and I-94.

         Holiday Inn-Gurnee
         6161 W. Grand Ave.
         Gurnee, IL 60031
         847.336.6300
         A full service hotel across the street from Gurnee Mills shopping mall

         Marriott-Courtyard
         3800 Northpoint Blvd
         Waukegan, IL 60085
         847.689.8000
         A full service hotel with free transportation to the University.
         www.courtvard.com/ch iwk

         Marriott-Residence Inn
         1440 S. White Oak Drive
         Waukegan, IL 60085
         847.689.9240
         A full service hotel with free transportation to the University.
         w ww.residenceinn.com/ch irw

         Please note: There are many hotels/motels in the area where you can stay. These listed
         are suggestions. When making a reservation, we suggest that you mention Scholl College
         at Rosalind Franklin University.




                                                                            14
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 15 of 50 Page ID #:15



       Transoar#ation

       Chicano O'Hare Airport/Mi
       American Taxi
       800.244.1177 or 847.255.9614
       O'Hare Airport/RFU: approx. $46.00
       Midway Airport/RFU: approx. $73.00
       One way, all airport taxes and tolls included.
       No Surcharges for credit cards.
       $2.00 each additional person.

       Airport Shuttle
       Call for rates
       htto://www.a i roo rtsh uttle.com

       Airport Express
       Call for rates
       http://www.a irportexoress.com

       O'Hare —Midway Limousine Service, Inc.
       htto://www.ohare-m idway.com/index.shtml


       Milwaukee/General Mitchell International Airport
       Travel information provided by GMI Airport:
       htto://www.mitchellairoort.com/oettina.html

       Airport Connection
       (Please make reservations 24 hours in advance)
        Mitchell Airport/Waukegan Area: $99.60
       Tax and gratuity included, one way
       You may make your return trip reservation at the same time
        htto://www.mkelimo.com/contact.html

       Chicano Metra Train Schedule and RFU Bus Pick-Un

       Metra Rail-North Line
       htto://metrarail.com/Sched/cnw n/cnwn.shtml

       University Bus Pick-up Schedule (~~ut. e ri:::s h"can-~ri niy;
      (Lake Bluff Train Station only)
      The University has a bus that picks up and returns anyone traveling to/from the university.
      To RFU: 6:30 AM, 7:46 AM, and 8:30 AM
      From RFU: 3:00 PM,4:00 PM, 5:00 PM, 6:00 PM, and 7:00 PM
      Meet at the North Entrance of the Brick Walkway


1

2            22.         The DOE uses the forgoing mark "U.S. Department of Education" in

3   public association with Department of Education functions:

     T.T. ,~~partr~°~~~t ca~f Ed~a ~~r~n
4

5            23.         As represented by forgoing mailing (redacting personal information),

6   Defendant DOE admits that Dr. Abazari is a federal student loan borrower as it has held

7   out to Dr. Abazari, on or about 2011, the statement "U.S. DEPARTMENT OF




                                                                15
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 16 of 50 Page ID #:16



     EDUCATION P.O. Box 5609 Greenville, TX 75403-5609" as the

 2   "RECIPIENTS/LENDERS name, address, telephone number":




3

4           24.    As represented by screen shot of electronic transmitted records distributed

5    by RFUMS,Defendant RFLJMS held out to Dr. Abazari that the aid received was of the

6    type "Sub Stafford" and "Unsub Stafford" and "Grad Plus":




                                               16
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 17 of 50 Page ID #:17



                                      uziw
                                  _              _......                                      __...
                                                                 _..._     _.___
        Armin Abemri:
        Oa63381

                                                PLEASE READ CAREFULLY


        ~~I16 oDhCt 161a OfoIID YW 1~W1 a Go~f19~ eld 9Wild }198 bCCo d16b1YeCd Oo ~~/U4/09 tD YU1R
        Univmity Student Accowt where ym¢ tuitiw and fea ue cheiged

        If the tuition and fen due are paid in fill by tLie diebivaemrnt Iwviog dditiwel EoenciW aid IeR ovc
        for living exposes.Y~ ~~ o~ Mme ymu ave~prymmt mlil alter the period(tam)eianed ~hst the
        aid was disbureedf Fm exmple,Sthe aid wu diabmaed were for fLe FW 2008 term, Ne
        averpaymmt will na be relwed wtil after she Fall 2006 te'm almted.

        If you have questlwa reguding your Fioencial Aid Pottage,s/sase de .se.~ph v el~ia asN v Ai.
        e~dl6 nnmtr/low the B.uo~ns O/rre. Conma the Financial Aid Office at 847-578-3217 with
        my queetiane w requeate yw may have.




        A PaioC                  Arad Devatim                               D'ubm~ImA~m~
        3W9 wivm Tmm            Uw~b 3uH                   910.66)              11Uf06.9➢


        You have the right m cancel all m a portion of your financial aid diab~vaemmt(a)by cootacriug the
        Finennal Aid 09ice at 847-578-3217.


       Plisse note shot We "C.onv AmowP'ie Ne lam amomt yw abmined from ymu lmdec and the
       "Disbursement w Accaum" ammml is the Crtoss Amouvt lees any migivatlw and defiWtfm eat by
       yow Irnder.


        We would like m remind rou of the new regWariam peaeed by the Depuuomt ofEducauw. 'ILry may
        have a aigni5cmc imPea an you hry are:
                Fin~cial Aid must not pay fm tibnry fru,puking tickets, m housing damages.
                Finmcial Aid ~eivad fw a specific term coma ewer fim¢c or pmioue tam chugo iu
                     s of5200.00
        Pleeae make azrengemwm ro have'hae items paid if you have iocurted Wem.




        Sincerely,


 1
         a~-.:: nw~.emw~-,:.m:~::m~,:~<.:: ..x~rc:..,:~.,...,,
           -: wem..m~n wmrm~u.a.o
                 w.mw,s.zmo n Paz w~


       Mmin Abawi:
       0463361

                                               PLEASE READ CAREFULLY


       This notice ie m infofm yw dut a financial aid awW here been diebuned m 11/04/09 to your
       llmvers~ry Studm[ Aceount whore Yaur n iron endfs are charged.

       If We Ninon andfdue art paid in fiilI by this die6~wemrn[ Iwving additiwal Ln~ciel aid left over
       roe uhog ~p~,,rte,Mrs om ~.~ ym,*~~rmm ~m sae w~ pe;aa ~~~~a u„~ m~
       aid were disbursed fm. For example,i[the aid wss disb~used wasfthe Fa112008 term, Ne
       ovwpeyment will na be rcleeaed ~nti1 aftm the Fa112008 teem suited.

       [CYou Mve queatlom reg0ding your Financial /tid Packeg<.akaae b col tmlu v U~ia adluWV
       anaAia eenerenAl e~w the Hr lnm 0//tn. Contact the Fioaoriel Aid Once at 847-578-3217 with
        my quw~oas m requeeie you may have.




       zoo~a w~~..m            sw~s~.a~~                   s~n~m                   u~roa.sa


       You have Lhe right in cancel all or a portiov of ya~v financial aid disb~maveet(s)by caelacring the
       Financial Aid Odce at 847-578-3217.


       Please noce that the "Grass AmowP'is We Iwn ¢mount you abtaned Gam your IrndQ and the
       "Disbursement to Acw~mC emamt is the Gross Ammmt Icn any originetlan and defauhfael by
       your lender-


       We would like m remind you of We new regulatiana pesud by the Deparm~eut of Eduwtlon. TLey may
       have a significem impact ov you. They vc:
                Financial Aid must m~ pay for Ib~ary fees, pulong ticke~s, m housing damages.
                Financial Aid resrivW fm a spmfic[um carom cmu Cuhue m previous term charges m
                    ss of5200.00
       Please make ammg~mts m have lheae items paid if you have incurred them.




2




                                                                                                             17
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 18 of 50 Page ID #:18



               ~.~.                       ,.,~,.~H

        Nmin Abe~i:
        0463381

                                        PLEASE READ CAREFIII.LY


        Thie notice is m id'mm yw that e fwncid ud aweN Ws been Aielnmed w 11/04/09 to yma
        l7oivenih Student Acrnuot wfiae Ymu ntitim end fw arc chuged.

       Ifthe aitinn .odf&e ve ptid m fWl by Wia diebiwemmt Inring edditimWfcid aid IeR mar
       !m Wie6 expenses, You will not rrcuve ymv overyaymmt mtil after the periad(yam)atertd thal the
       aid wee dia6uned fa. Fm crumple,if the ud wee du6uned wasfthe Fd12009 Mm,Ne
       ovecpeymmt will mi be mlueed mW aRc the FWI 2009 tam efutd.

        If you here queatims rcge~dmg yaw Fimncial Aid Package,u4us Ja ear~/y r au ego/ m Mia
        soul!v mm~la~,ba~. Ne B~vum Mfiee. Conma Ne Fineocid Aid Odice az847-578-3317 with
        my queatiom or requeea yw may have.




        xaaa wwe r~         men.us~~             fi,ieem~m~~         i~~xiie~~


        You love the right to wnW all m a proem of ymv 5wo~iel aid disbmeemmt(s)by cwfectiug fhe
        Financial Aid OfRa u 967-57&3217.


       Pluse note that the "Gmae Amok'u the loev amouvt Yau obraioed 6om Your lads and We
       "Dlabmnement a AccowY'arrow[ u We C'oee Amowt Ina my mipoeGw god deIIt frw set by
       your lends.


        We woWd Idce m rtmmd yw of fhe vew ~eguktiom pureed by the Depar~mi ofFduutaa 7Lq may
        hew a a~gvificmt impact w you Thry ne:
                Fivancial Aid moat na[ pay ten Ibmyf,pcdoog ticke6,~ hwuiug dmagm.
                Pinaocid Aid nxeivedfa spxifi<tam ramot roves[unue m previous te'm che~gw in
                     e ofSi00.00
        Please make mmgimmn m have Wse ircme paid ifYau have incuncd fA....




        SincemlY.

 1

 2                  25.               As represented by electronic records distributed by RFUMS,Defendant

 3   RFLTMS held out to Dr. Abazari that the aid received was of the type "Direct Subsidized"

4    and "Direct Unsubsidized":

                      Tf,- >... ....
                      D3sEut5emert!i~ti~aat 42.79.13


                    [LS1R12~SEL4XSI1:

                                                     PLEASE READ C?,AEFGI,LY


                      7''~Lc notice is to in.~rm you ~Lst a ;mwicia! yid award?iss koen disBnrxed rrn tiJ E9.~?3 to
                      your tfaivcrsily SniBem Accrn;nt whrx your tvetiRn arsd fus ue chnrged.


                      A..                      x ~d 1.
                    ;nF;se~~c,Tr=y           pin:,s,~<aM,t           s:+at im~                      s:>;=iw


                      My dsh~e~eed t'wm~ial aid shaz remains ~c ynur Univen~sy Sn~dcnt Aaziunt nftc~ ymir
                      witicnand fees src paid v~'itl be sraed to yilet as as ovcryay~~m~it. CNcrpaymema x~itE nnr be
                      e~icssc~ uhril aflir ilxx aawxiatW acadranic. lcrr,~ has started.

                    Plaau coeuU Srudeac Fiun~lalScrvices ao 847-[T8-327 wYth an}• gdesdons ar
                    reryueete you mqy Hxre. Pliae d~ root nmh• w rh6 ~w+a(f as 1r bees 6~rea eewuraerdlean
                    tpe Ffne.9a~r DenTrt~ (end     Bg^ r Fc-.:nci~+Smtirrx



                      You Eave tLe rr~t to cancc} a!1 or a ~'iion of YnuK finwn;iaE ai~i Cisi+urseiivcrrtla')by
                      ~va[zcziag SW@cnt Eiex¢ciai Sctvicc~s at 84?-5?N-323T.


                      Please nose Eluet f:~e amount d"ectru~d so yuer ttui~:iy Swdent Ac«+um is the gtosfi
                      amount iers ary fees c8ue'acd Bp}uvr IcnQes.

                    K'e. woui8 like to re¢unE you ihst your.
                                 Financisi sid rnwt noi.psy [o= tibrs[v £ces, puk'ng tictCs, ar housing
                            darnagex.
5                            ~ Financial Aid cearsvcd i'nr a spec~Crc mrm camo~ c~uer Tuaae ur previous terra



U1




                                                                                                              i
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 19 of 50 Page ID #:19



 1

      Csthwim t7~koN                                                                            ~x':e~;;:;.^r :'^. ;~... ._.ii h"F.

      O~u~samera Na~s'tkalion 02,~S.eg
                           .... .

      Armux AFwsari:

                                            PLEASE READ CAILEFLiLLY


      T3eis auticr is to i~Farm you ibat a fmam:isi xiid axerd hss br.Cro alinDurecd un 02;29f1? w
      }cur TTsiiversity Swdem Acccw¢t w•3xte yrnsr neition and fees are ehargeB.


       :                                     '~ re.........."'..+%±~1..=n~ni""_""'_'.>":.a~ssx~icttslz~.:_
        xatA':~?isa+"""""_"'_"'_h=cat1?x~.vvi'x
      2U:')OnPiam              L+i-at lSLai'~;zcd                      35r$N~ih`                     )5MSwW


      Any disbursed finac3al aid ihae ecmaios am}'~ Uni~rrcsity Swdrnt Account aRer your
      mirioo azid 1're~ ecc paid will 6c issued w your a, un aysryis}~rnaet. fh~ar{wycttcnt. w'iE3 nui be
      reEessed un[i3 after the associsted acadvnic term has ssscted.

      P9eaae conbct Stadent F[asndal Sen~iees at 8i7.378J21T wiN aay quasdona a
      regneatY you myy Gave. m• r da ~! mN ru thir ruswi! r hkru bera erwavaiordjrrm~
      f~4'..F. £&..II~RRR[:F1+F~.±~~d      i..P.eS[!AN!£~xFtG:IS#&_



      You have the eight as canes[ all nr a pnnron of ynur i5nanciaF eid dicburzenecrc[(sJhy
      oorcsciigq 6~udrat Tin~scisl Scn~saes st B4?-S?&3<^F?,


      Please nou ehm tFs amount di~Aurud ro yoitt G~nivecnity Shich:nc Acciautt is the gsocc
      amount. kss say €ees charges6y yaur tender.

      ll~c uxwl~! likx to ecmiud yvv~ thsc yn~m:
                    F`inaiu:al aid must not pay far IiMary fees. Pa2w-ing uckas. cv housirsg
               decnages.
 2             ~    Fiunnciat Aid received fix a rpxilir. renal r»nnoi rnvcr ttrt~rc or }xevirnac eer~~
               <ha~sin ucess ofS2D4,047




 3                     26.                  As represented by a screen shot of the DOE's public records, the DOE

4    holds out to the public that "subsidized and unsubsidized loans" are "federal student

5    loans for eligible students to help cover the cost of higher education":
                                                                                          A                                       a~
      ~. ~„~

                                                                                      GflOU6 5POh'SOR of
             i        i..[ L E       ~ oB ~.$ &.F          if                         the pPAERICAA b:l":DA




             ~,-.%w. ~ ~Isw": Y.!a1.5 ":.2Y..'.s.: 9u'.Y,ickaY u.A l~^xe>ivS:: Ween

              The us. oe~cnerrta Ed~anm of'ers fang-Kest4x~s 43e                                      s        ,~ to lx~p awes tl~ Est of cddegea
                    sch~.
              S;urtents.nm Lk~ ztigSLir rn.re:~nve eYfasrdiaed and uhwAn~irGzed !a:ns hasrl sn d;.rirfnnrs~:?mi need.



                   ~Dsmzec and vrsaCtitl{zeG loiln Ta ed~taE ~'u           t i :nc~f•~r hrl, tY-~ sLu[<~nss'o teEp cover t3~e          (hick LH~ks
                 ~oxt ofk,~.~rr Nosar..,~i uiaf-iu..yve. cn:,.ry~•~r~          'i -    _ .n:;Y .~,Mgv.or i-»dr. r=roe
                 s.<Y mc:,t sx:~oaF :7~eti s .R~rtmen;of ~5uc~con orfem eL•~ble sc9en~, at µ_rt:-t,~uag s_hu~t~
                 )7ira•*;:~L>:~i~luexia xnu ➢rree~. i-r~ri1,<,:~ixo-7 t,.e;xe i~rxnep. FF. efe:-e»l:.~msinana. x5
                 >;afticv I.,rmz,-~Ofrnr,£ratan Lcans.i                                                                                  ... _.      <


6                ~~~ ~ _ .:,~ ~ ~_             n. ~..                                  ,~.~:re ,_

7                     27.                  As represented by RFUMS in their scanned slide from the printed handout

8    record distributed by RFUMS at the time of enrollment,"Financial Aid Information"-

9    "Incoming Podiatry Students Presented by The Financial Aid Office", Federal Stafford




                                                                                                                           19
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 20 of 50 Page ID #:20



 1   Loans means a "federally guaranteed loan program that allows students to borrow funds.

 2   Stafford loans can be either subsidized or unsubsidized":




                           Es~+et d Fam,{!~ Cuot huff     ~BFC~ Y       oun' r a v i5          n3 tq
                             ' -~     ~   t i1   et ~.. 1~ r. E:-,~ t 1 s-i^ilti can 7: is      4~ :i
                            e yt ~        xrt nK. re        .... -y  s ei..~ ;r, u, a~_.i. z. n. i^                                                      _~
                           s u,7rn .n   ,cnr

                           Federal DeftukF Fee "'t - trc c a E mre~      i - ~! i c 1 t d~     +  ~. .`.
                                     n ~.~ r ~cr c f,i.id Th         u:i             ~..d., i ~uthw ~~
                           .e .c.~«   v.. ,e   ~r racr~ .t     e:•.~ V ~ ep.:au a';~ai:

                           FedcriF PLIIS Lcasc A bnu~ in r       - L.-i 1      -                                    .1 i~wn z~ E l~hlr t:. :~.-cci:c
                           ~~ r~';> x*E d.ar.:c .ud.1~-~n~9 r ...i .~~.~nl o.. enr                                   t .n.lr;q a.~~~~~3~; ~v..~.~._


                            Fa.Lern. Statfsrd Loan       t~<
                                                        f.     3     :ac ~ cc        I utn ~r s. stti i!u~[s i ae    1   i
                                       f    ~. Bryn ~ 1 ~~ i     11   na            c r„ drt r ~a}marcr, ct., ~ t?~ , re .n
                                „.    . Nn ~. . ~~, c. . tr: i.l-   s.; F,.~, .i..rd ,n, q s abS dvr_s]

                       .   FFELP F                   I F ~     t ~ ~~.        u:ui :v~ ~iam.
                                                                                        r    .v f ~rrn: «isdcr.~ _ir. pi urias
                                                    .,     r c   d e ~r r. r i. a ut K ess ra            -oat mb~RT
                                r,                 i,,~s h ~ Y. - d          ~i ii.rd bc..iera .~u,:d t+uas.
                             .i -~    1               ..      ,. sr:lre~ i ..ur.ao~re ~u~~ 1•naas




3

4           28.        As represented by RFUMS in their scanned slide from the printed handout

5    record distributed by RFUMS at the time of enrollment,"Financial Aid Information"—

6    "Incoming Podiatry Students Presented by The Financial Aid Office","Grad Plus loans"

7    means "low interest federally sponsored loan available to credit eligible graduate

8    students":


                                                                                                                                                    i
                                                                                                                                                    s
                              &Y.~~T          Aj ~ k. '~'i i.~. 13.:.~C4 }        r'I:3 Z.~     ~fv- ~~~                                            y
                                                                                                                                                    3
                   •   Fi pe..tei _~m~Iy~anv~6vri.m lfiFC1



                       F1<r~l 'Jef vl( F«.':                    1 ~ F.:                                ','.1
                                                                                                    ~.1~. t                  .~'~_
                                                                .,                            ~..~,i                                                .,
                                ~.        ~- it.          ~           ,i   ,.

                       f d     .PEWS!               '+                                                         i
                                                   d.~:                              ~,                        tl
              t

               ~           .l -a, Br fE V lmn.                                                                                            r
                                       1   J.                                                                       .. Y.i                    ...

               f
                       FrEiY                                                                            a .~.                        ~r.~. .,
                        -                                        ~ ~                                           a....
                       .a.   -                                 _i ,                           a..tr        ,...,
                       Ra,                         ,..        ~      .~.   i w.   . ...~,-.

                                                                                                                                     ':



9




                                                                                                      20
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 21 of 50 Page ID #:21



 1                  29.                As represented by Defendant RFLTMS in their scanned slide from the

 2   printed handout record distributed by RFUMS at the time of enrollment,"Financial Aid

 3   Information"—"Incoming Podiatriy Students Presented by The Financial Aid Office",

 4   "Free Application for Federal Student Aid(FAFSA)" refers to an "application for federal

 5   student financial aid, processed at no cost to the applicant. It is used to determine a

 6   student's eligibility for federal grant, loan and work-study":




                                           Porbear¢ncc ~ cep Ix ar r            ~ b~ are 1cc ~ ~f pay "irr ~:a~ t ~ m:nc:ni
                                            :'iL-        n harcca .s c~~rir~ei sic ic: ~l ~i      i .ni r qt .'..~.ri~ p a
                                             ~r~~. Esc _r ~.,«r,~.0 J:iy~io .n.cre:! m.~} h. eariri ,..ed auerrrrlr .'r t ~e
                                           ..-~r! ~t     ~, .r .:arse

                                        Free Ap~ticaHaa for Fedoral 3tndant Aid {FAf'SA) !t~               E I.r:atw~ ier z^z; r;)
                                        .    ;F +r~sne>
                                          ....                  id. pro;esr~d at n c~~st to ,i e ay~l ~~~nt t .> °ac ,t , det. rnut'~r
                                        . a-.arc .. s ~ :ir ~ ~.y~ for :` .i ~al fruit ain end i ~.s~stud~

                          ~        ~       Guarantor o: Gunrentse Atancy:'tt St_-.rr afi~t n~'. or pry ~ty nc~ pr~fii
                                               -:..ru~~; i~iaz h.is, n ag:c.>nleaif uith the li.S ~,~reta u, E.tue ~i~~;~ c~a
                                             i•;< ., .. s a:r,~n Fc~~~~.; n. r ~ro~~':su' ~.irter 'it'! zg:::~r Et v.,a[if~n 4;F

                                           TII^PMIt! ,1 ~<'c:          61       a Y. 't     qGf :i1P G7 I~Jt ,.:tl., t. .. ~{':1~F1 R SIOIiBF                                       ':.



                                   •       Lender. '7~ rCati tl.. t~~ It1A. ~ii$x.ztsas ~,:V ~r~ }~en~s

                                           MAsYcr i'romsec+ry Hnte ~2~i'~4}: A                                    t tbiM utt.  ,ts~ ¢ tl~t ~ i                  :y,al'
                                           » irAe..~ ~>r.;a:~ ;cattsr~ ter C*der~'.                                     IT:<, f~c3*~r.~. ~:'f                     s
                                              "
                                              ( t`~' •t~t~ s::Gr..L'L:CC:i ttn.i t nsy:~i£i ..                        .i T1FC's{t:~.~Ct?i t11:1'y                ir.
                                             ~~ s~vt n~oi- -r rir nc~ri~~d if                                                 d:n.(S x!
                                           a~x; ,i e s~ i t i ~'.~i:tx'.a                                                                                  ~S                 aq
                                                                                                                                ~? E`l..:~ .        I~'•
                                           r ,^nrrr     -i hn ca[sae !~:~e L.                                                  1:~C t t~,i                  ~~ ill ~           t~
                                              vc~UUF {,!;nC~~e                                                                                              y,~            Q ~~
                                                                                                                                                            ~~ ~~             ~i
                                                                                                                                                                i,~i"''d    ~f+

 7

8                   30.                As admitted by Defendant DOE,Dr. Abazari filled out both "FAFSA" and

9    it was "processed" by the DOE for the periods 2009-2013:

         FAFSA Reoulb - ?009.2070 Sludnrt Ald fleporl
         s      •Fetle~el 50MenI AiO'~aEerLLSWEenWEFAF5l~8ryaemeil.eE.ywa

             ia: arminahzMeYalwa mm


        OearMMIN,

         Vour Free AppliraEm Iw Federal SWEasI Ilitl (Fi1F&A) M1u Eeen proresmtl aM Me tlma will pe meEe evailede b IM1e vlwol~s) Iis1eE m ywr FIIFSA
        ma n~a~~ei de or~.~ r~ ~aoi..a w~n.a w~ n.euna,m :~w~ano~ g.ea~~,ea.
        ra,~ swaem we a,p,~c Isu+)..Yna~ ~w~ o ~~ra rW FnFsn Mm~.no~. ~ pow ~dimk ro~ rW oare_ nay vwr sna ~ ~o~ ~
         possible ro see tl ary atldlional iMormaum d careNans maY ~ neeEetl.

         Use Me fink below m view your SAR. vau pan uIM Me fmk o~ mpy pie erp~e I~ arW paste it Mo iM aEJrea or IoraUm line of your WeE Erowav-
         McMe sure you mpy eM peaM th eMira INi; n mey rypae~ an mJuple kno.


         n Yoe are a~ nay ~x,, aa~ nere~
        a rarer-•     ~            ~ *ww                'n     r             rn        —w snnaa>
         n wu e~mume.any padems ree;n;~g your snn,qa m w.w.r~,e.ea.ywnagmaimn ra usiae~. vw mey wo tali me Feamy smaem ae
         ~n~orm.rn eemer u ~ aooaFEo-ao(~iooeasszesl.
        TTenk You,

        U.S. Deperimani of EEuution
        Federal5luEml rlid

10



                                                                                                                  21
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 22 of 50 Page ID #:22



        FnFs~ Wawa - xmaaon en~axn as n.pon
         rrwn: •Fetlx~I SwGntNC E~hN51WmWdFAFSA~cp~mW etl.gor.

           ie: 11RMI W16VMIBYAl100 COM . .. . ...


        Du~~RMIN,

        War Frw AFPllutim brFMarY 9WtlaM Ntl(FAFSR)hu EaanP            Ntl tlN Mtn MI EemWe~wIYbN ~o tlw etlwd1s11elaE on Yar FRFSA
        Tea fin~nd~l ~iE oMa d your vlad Mp ratan you K Wd1~uW IMamtlbn k raquratl.

        Your SYUJeM ~k RWu~(SMI.wtitli Wrneiia a aummvY of Ya+r FAFS~ Miamatlon~ h rwM avYWb kl1'a+ONne. HMen your SM ufam u
        queihk b xe H ~nY etltlXlvW b~lomWlm a mreNona mar Oa naetlW.

        Uee Ma Ilnk Gabw m vW yvur 9AP. You on WatlIM Wik> wpy tM1a rpn dN uM puic X Mb tM WNm m IxtlMi I'vw W ywr Wa0 brwnw.
        Mike sure pu mq utl pwe tlr aNe IFk n maY Rpev on muNpk taw.



        II you w en FOL us,reG Mn:

        Q M1rel                                                                 V   SMdo

        Ilyou enwuntar my poElrnarWkrMp ywrSM.po Oo www.Ivhiywilag0l B.hhn Mr ueislerva.Y mry Wa oll tlr FatlaN STIMm Ntl
        imo~m.uon comer a i-eoa~-cmao 1~-em-as3susl.

        ThanM You,

        U.9. Mp~rlmnl of Etlwtlen
        F.a.~.i 9ae.m rw

 1

          FAFSA RewIb.4077-2072 8dMn1 Af0 R~pat

           fran: ^cMVW bTMaM 4T 6eEraISNEaMIFAF3Ai[paMWI.M.pays

             Te: ARMINPHAZAAIOYAHOO.COM


          Deli PRMIN,

          Your FrBB Ap0limm la FaEeral BWEaX Ntl(Fr1F5/a liu been prorsweE wM IM1e 00rYl be maEe aW IebM to the xMol~~)YSOM m your FAFSA
          Tlie flnonclal ak alllu N yav edwol MI miWf ruu X WOltlan~l IMammlon 4 myhe0.

          Vour6WMM AM Ppar116M). wNtl~aviWrua~uv^sYWY^uFI~FB~iMvm~tion.la nmr rv~labM (or ~vu mNre. Rwiaw Ywr&RR ueoonu
          pOUWI~ W ~a~ M Iry WpiEOnY M1iMnulbn o~ mrt~Mons msy b m~GE.

          Uw tM IInM Mlorb N~w'yaur 9M. You un mMG IM IM u apy q~ wMra YN Intl putt N INv tlp WdoO or loalan Rn~ N your WW doWwr.
          Mob wro you mpy uM pme IM aMro IIM; k mry yqv on multlpc M~wa.



          II you ~re an AOL uw, Wtli Mn:

         a Orel='                                                          -1Y SNWo

          u you .nm~ma.rry poawns ren~..xp yw.sew wxn mm mk qa m
          w..w.m.e.ow,,.iw+•srn ~a.• m wa M w ra wai e. y~+~ m.
          ogon m vier yar SnMwn Aitl Repwl.

          You mey Wo u11M F~tival BWtleM gltl hRmnNpn CBM9 91
          1-B0p~4FEO-AIO(1-0pOJ8S3299) b~ aEMtimel auiclanm.

          ThenY'hu,

          U.S. D~p~rlrmM al EEwEm
          FetleN SluMnt Rp

 2

         FAFBA RnuN~ - t011-TD78 SIWe~~I AIC X~pa1
         •rsn: •Fenvnl 9edvrt NC 6aJwe19NJaMNOFi1FS~OW~xnW.otl pon

            n~, ARM~.YAB~ZMI~YN100.GgA


         Uea~~XMIN.

         Yov Frn RpWiutlm M FeEaY 9Okm1 Wtl(FAF9A)1w been pounatl aM tlx Mls xql be matle nW Wa ro the aUodla) Mod m yau~ FRFSA.
         Tli~ IinenciW aIE NAa tl your MOW wIA ~.mWt yw M aOtlltlwW iRarmetim a repwM.

        Your 9lutlant ~Id Pgql(S1H). wM1MM mNiu s eummvy M pw F1F9~ Imam Wm,b now rvYIWa b yw mbr. Rwww~vur 9RR r wm u
        a~eia u v.n ear wa~riw~m xrt~.m~ a ~..nma m.r x ne.am.

         uw m.onw wiwm.~..w~.snn. vw om roe uw w~xaaar ma wmn mk wa wMan Mm m.aadw a. w~.uon m.mru.wee dowaw.
         Mob sure ~vu raspy uM polc Me wNe Wt; M mry eppur m multlpN Hwe.



        H Y~ ~n en ROL uv~ tllM haa:

        a nreF_•fines/nel~aewFAF6N~IWsa+cMwt2t3'Yew SRRcIo

        II you mmun~er enYi~r ~~~+~9 W~✓~~ A~ Imt, po ro
        wwx.hna.9w, aeled'San Ham'to k9 in vtl Ya wl~ Ev 9im Ne
        option to New yoir SEMenI AiE Report.

        Vou mry alm all IM1a Fetlerel 34Ma~1 NE InlwmpYu~ Cer~W al
        1-0OU<-FE6RI0 X1-000 ~SR3213)Iv aEtli4vW a~asls~m-

        TM1ank You,

        V5. OeparlmeM vl EEucffiw~
        Fmeni s~aem na
3

4                     31.               Dr. Abazari, for the periods 2009-2013, acquired and used federal student

5    aid to fund the education at Defendant RFUMS.

6                     32.              The DOE uses the forgoing Seal in public association with United States

7    Department of Education:




                                                                                                            22
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 23 of 50 Page ID #:23



              'T OF
         :y
                 ~~. .
                             0
     a                       z'
         ~ .~~ ~~        `
         ~ ~~
 2                                                 CAUSE OF ACTION 1:

 3                (WIRE FRAUD 18 U.S.C. X1341—DEPARTMENT OF EDUCATION)

 4                  33.           Dr. Abazari repeats and realleges each and every allegation contained in

 5   paragraphs 1 through 32 as if fully set forth herein.

6                   34.           The DOE knowingly participated in, devised, and intended to devise a

 7   scheme and plan to obtain money from Dr. Abazari, through accruing of 70,000 dollars in

8    interests on loans, and obtaining loan obligations, for the false statement of service

9    "placement services for program completers" that it did not intend to render to Dr.

10   Abazari.

11                  35.           Screen Shot of DOE Public Records IPEDS Data Collection System,

12   showing where the DOE publicly associates its Seal and mark "U.S. Department of

13   Education" with IPEDS by the use of interstate wire communications:

14




                                                              23
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 24 of 50 Page ID #:24



                                                z~is-its                                                                                                                     IPEDS Help Desk

                                ~~              Data C~allection System
                                                                                                                                                                                (877)225-2568
                                                                                                                                                                              ioedshelo~ rti.ora


     NCES National Center for Education Statistics                                                                                                       OMB NO. 18560582 : Appmval Expires 12/9 V2o1s




               ~&                                                           ~f 1`G~                                                       ~        r

           COMPDNENTS                                                  COMPONENTS                                                   LON~DNENTS
           .:^.Sti#11YIOPlri Jh <.^,PSr;stl:s                        .,,edar:! . .rarcia A:d                                        =x11 ~:^.rcl ~8~i
              .,m> ~e:tonz,                                          G~aduanor, Rate:.
            . -r~:,:;n;F Er:-r;irrien;                               eD0",~ Cra:fua'.i~~r Fa`.es
                                                                     Ar~mi~aior~:;                                                  Aca~a~r•:c ~l;;rxrl~:~
                                                                     ::4tCr~{"I@ EL"EttSl1(BS

           NEYHOLDEFS:                   COOPDINATORS:                 KEYHOLDEflS:             COOHOINAiORS:                       KEYHOl0EN5:                       COOHOINATOflS:
           vl~5c~                        ~:Irse:i                      Cfos~d                   C,os~d
           iCn~e~i ~;,_, ,q i               ;ad -                     (~icszu Feb ~~l           (C'b~sA Feb tai                     i I       „pr i~6r                i~lc5~~`~.-r 2o)




           Reportin~Resources                                                   Data Submission Requirement
           Access resources that will help with successful submission.          The completion of all IPEDS surveys, in a timely and accurate manner, is mandatory for all
                                                                                institutions that participate or are applicants for participation in any Federal financial assistance
                                                                                program authorized by Title IV of the Higher Education Act of 1965, as amended. The
                                                                                completion of the surveys is mantlated by 20 USC 1094, Section 487(x)(17).
           Registration
                                                                               The collection and reporting of racial/ethnic data are mandatory for all institutions that receive,
           The 2015-16 data collection cycle opens August 5, 2015.
                                                                                are applicants for, or expect to be applicants for Federal financial assistance as defined in the
           The surveys available for completion as of that date include:        Department of Education (ED) regulations implementing Title VI of the Civil Fights Act of 1964
                                                                               (34 CFR 100.13), or defined in any ED regulations implementing Ttle IX of the Education
           ~/ Registration                                                     Amendments of 1972. The collection of raciaUethnic data in vocational programs is mandated
           N Institution Identification                                         by Section 421(x)(1) of the Carl D. Perkins Vocational Education Act.
           d Report Mapping (if applicable)                                     The reporting of racial/ethnic and gender data for instltutlonal staff on the Human Resources
           ✓ IC Header                                                          component is also mandated by P.L. 88-352, Title VII of the Civil Rights Act of 1964, as
                                                                                amended by the Equal Employment Opportunity Act of 1972(29 CFR 1602, subparts O, P, and
           Keyholders should be registered prior to August 26. The CEO          D), in odd-numbered years (i.e., 2007-08, 2009-10, etc.), for institutions with fifteen (15) or more
           of any institution without a registered Keyholder by that date       full-time employees.
           will be contacted by the IPEDS Help Desk so that a one may
           be appointed. The Keyholder may be changed at any time               For those institutions not required to complete this survey on the basis of the above
           during the collection cycle.                                         requirements, completion is voluntary and authorized by P.L. 103-382, National Education
                                                                                Statistics Ac[ of 1994, Sec. 404(x).
           The IPEDS Help Desk is available by (877) 225-2568 or
           ioedshelo~rti.ora to answer any questions you may have.              IPEDS data are not collected under a pledge of confidentlality.




    U.S. Department of Education                                                                            Software Provider Resources        Use of Cookies              Section 508 Compliance
                                                                                                            Browsers Supported                 Troubleshooting             NCES Priva~v Policv



1

2                    36.              As indicated by the forgoing screenshots, through the use of interstate wire

3   communications, the DOE held out to the public and Dr. Abazari, in two places

4   electronically recorded, in expressly stated terms, by the use of a specially created and

5   designated IPEDS Data Collection System, that the institution RFUMS provides

6   "placement services for program completers" for the period 2012-2013:

7




                                                                                         24
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 25 of 50 Page ID #:25



         National Center for Education Statistics
        IPEDS Data Center
         Rosalind Franklin University of Medicine and Science
         UnitID      145558
         OPEID       00165900
         Address     3333 Green Bay Road, North Chicago, IL, 60064-3095
         Web Address www.rosalindfranklin.edu/


                                                                   !~ Ele~dQr 2i~9 ~-1 ~

        #ns#i~tton_ }2osa1[rfd Ft~itklin Llnivefsify o[ M~ficin@ ~d Science 1145558)


        Part A -Educational Offerings
        1. Which of the following types of instructionlprograms are offered by your institution?[Check orre or more]
        If your instituL'on does not offer occupational, academic or contlnuing professional programs, you are not expected to complete this
        or any other /PEDS survey.

                ~         Occupational, may lead to a cefificate, degree, or other (ortnal award

                          Academic, leading to a certificate, degree, or diploma

                          Continuing professional (postbaccalaureate only)

                ~         Recreational or avocational (leisure) programs

                          Adult'hasic or remedial insUuction or high school equivalency
                 a
                ~         Secondary (high school)


        Instilutron Rosalind Franktin University of Me~r~ne and Science (145558)

 1


                         AcademiGcareer counseUng services

                         Employment services for current students

                         Placement services for program completers
                     w
                     ~ On-campus day care for children of students

                     ~, None of the above

 2


                                                             ~I~~~~ I        ~C.~~Fi~TIf39~
      Mission Statement                              http://www.rosalindfranklin.edu/President/MissionVision.aspx
       Are all the programs at your institution      No
      'offered completely via distance
       education
      Special Learning Opportunities                 N/A
      :Student Services                              Academic career counseling services
                                                     Placement services for program completers
      Credit Accepted                                N/A


                                                            ~~t~~~Ci2z ~f3~L3~P~#~~ ~C7
      Average graduate student tuition and fees for academic year 2012-13                                         Tuition             Fees

                                               _ _                                                                          §27,654          $330
      Alternative twtion plans                                                                                    N/A

3

4               37.            Dr. Abazari's right or privilege to a benefit, within a program or activity

5    receiving federal financial assistance, by the "placement services for program



                                                                              25
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 26 of 50 Page ID #:26



 1   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

 2   20 USC §1094(a)(17).

 3          38.     Dr. Abazari's right or privilege to a benefit, within a program or activity

 4   receiving federal financial assistance, by the "placement services for program

 5   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

 6   20 USC §1092(a)(1)(R), pursuant to 20 USC §1094(a)(7).

 7          39.     Dr. Abazari's right or privilege to a benefit, within a program or activity

 8   receiving federal financial assistance, by the "placement services for program

 9   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

10   20 USC §1094(a)(21).

11          40.     Dr. Abazari's right or privilege to a benefit, within a program or activity

12   receiving federal financial assistance, by the "placement services for program

13   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

14   20 USC §1092(a)(1)(G)(i)-(ii), pursuant to 20 USC §1094(a)(7).

15          41.     Dr. Abazari's right or privilege to a benefit, within a program or activity

16   receiving federal financial assistance, by the "placement services for program

17   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

18   20 USC §1092(a)(1)(J), pursuant to 20 USC §1094(a)(7).

19          42.     Dr. Abazari's right or privilege to a benefit, within a program or activity

20   receiving federal financial assistance, by the "placement services for program

21   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

22   20 USC §1092(a)(1)(M), pursuant to 20 USC §1094(a)(7).




                                                 26
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 27 of 50 Page ID #:27



 1          43.     Dr. Abazari's right or privilege to a benefit, within a program or activity

 2   receiving federal financial assistance, by the "placement services for program

 3   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

 4   20 USC §1094(a)(1).

 5          44.     Dr. Abazari's right or privilege to a benefit, within a program or activity

 6   receiving federal financial assistance, by the "placement services for program

 7   completers," and CIP Code 51.2101, has been expressly secured to him under mandate of

 8   20 USC §1094(a)(17).

9           45.     As indicated by the forgoing screenshots, through the use of interstate wire

10   communications, the DOE held out to podiatry students and Dr. Abazari, in two places

11   electronically recorded, in expressly stated terms, by the use of a specially created IPEDS

12   Data Collection System, that the institution RFUMS provides "placement services for

13   program completers" for the period 2013-2014:

14




                                                 27
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 28 of 50 Page ID #:28




      National Centerfor Education Statistics
      IPEDS Data Center
       Rosalind Franklin University of Medicine and Science
      UnitID               145558
      OPEID                00165900
      Address              3333 Green Bay Road, North Chicago, IL, 60064-3095
      Web Address          www.rosalindfrenklin.edu/


                                                                   I~ F~e~d~r ~ts~3-'64
       I nstitution. Rosalind Franklin University of Medicine and SGence (145558)
      r rrov~s 1

      Part A -Educational Offerings
      1. Which of the foliowi~g types 4f instructiontprograms are offered by your institution?[Check one or more]
      If your instifution does not offer occupational, academic or continuing professional programs, you are not expected fo complete this
      or any other lPEDS survey.

              ~         Occupational, may lead to a certificate, degree, or other formal award

                        Academic, leading to a certificate, degree, or diploma

              ~         Continuing professional (postbaccalaureate only)

               ~,,.     Recreational or avocational (leisure) programs

              r         Adult basic or remedial instruction or high school equivalency

              ~         Secondary (high school)


      l~t9titution: Rosatind Franklin University of Medicine and Science {145558)
      €[H7vas.1.
1

      Part C -Student Services -Distance Opportunities
      4. 1Nhich of the following selected student services are offered by your institution? [Check all that apply]

                       Remedial services
                 r
                 ~,,, AcademiGcareer counseling services

                       Employment services for current students

                       Placement services for program completers

                 ~ On-campus day care for children of students

                       None of the above
                 r~`
2


3
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 29 of 50 Page ID #:29



       Institution: Rosalind Franklin University of Medfclne anQ Science {115558)                                                 irtovasl
      Summary
                                 ~11Stlttl~iEft1B~ ~~'t~E"aC~@~'i5t1~L9 ~OR7pt3Pt~Eti~ ~t.ElYtf°17~1'j/
                                                     ACa~~tT11C Y@~C R~70~@CS


      IPEDS collects important information regarding your institution. All data reported in IPEDS survey components become available
      in the IPEDS Data Center and appear as aggregated data in various Department of Education reports. Additionally, some of the
      reported data appears specifically for your institution through the College Navigator website and is included in your institution's
      Data Feedback Report (DFR). The purpose of this summary is to provide you an opportunity to view some of the data that,
      when accepted through the IPEDS quality control process, will appear on the College Navigator website and/or your DFR.
      College Navigator is updated approximately three months after the data collection period closes and Data Feedback Reports will
      be available through the Data Center and sent to your institution's CEO in November 2014.

      Please review your data for accuracy. If you have questions about the data displayed below after reviewing the data reported on
      the survey screens, please contact the IPEDS Help Desk at: 1-877-225-2568 or ipedshelp@rti.org.




       Mission Statement                        http://www.rosalindfranklin.edu/President/MissionVision.aspx
      :Are all the programs at your institution No
      'offered completely via distance
      'education?
       Special Learning Opportunities           N/A
       Student Services                         Academic/career counseling services
                                                Placement services for program completers
       Credit Accepted                          N/A


                                                       ~~I~Itst    I~Ff4      ,~~'I~
       Average graduate student tuition and fees for academic year 2013-14                                  Tuition             Fees
                                                                                                                      $25,735          $330
       Alternative tuition plans                                                                            N/A
 1

 2             46.         The DOE makes false representations and misrepresentations, from 2008-

 3   2014, by specially creating a Data recording system, transmitted over wire

4    communication, to Abazari and the podiatry students stating that Dr. Abazari would be

 5   provided the federal service of "placement services for program completers" for the

6    periods 2008-2014, to which he was attending at RFUMS.

7              47.         The DOE specifically choses to make these false representations by

8    selectively conveying certain information regarding placement services, within the

9    information it provided to Dr. Abazari, and podiatry students, because it sought to

10   influence a student's decision to choose federal loans, over private student loans, based

11   on these service guarantees it provides.

12




                                                                      29
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 30 of 50 Page ID #:30



 1                  48.             The DOE specifically chows these false statements for inducing and

     charging Dr. Abazari interests and loans by obtaining money and interest from him under

     false pretenses, for services it does not render.

 4                  49.             On November 12, 2015 Dr. Abazari, Dr. Abazari placed the Defendant

 5   DOE of these formal obligations of "placement services for program completers" by

 6   attaching the corresponding IPEDS records from 2008-2014 and specifically calling into

 7   attention both the place "IPEDS checked box" and statement "Placement Services for

 8   Program Completers" reference within those public records.

         ARMIN ABAZARI--APPLICATION BORROWER"S OFFENSE TO REPAYMENT LOAN DI                                                                        ~~~o,Nn~n.;~..~s~o~
         SCHARGE

                Anitin Ab0z0~1 <UYmlwbasaii~yahOO.com:>                                                                                           Nov 12. 2015 r[ 3: i 2 PM
                To: FSAGpe~a[Icns'4uc.R•~~' <FSAOparauons~`etl.pov>



         To Whom It May Concern,



         I(1 couitl please, I would to submtt my Applic&tfon ~w Oorrowar's Ontense To RnpeYrcient Loan Digchnrga to Ifiu Uriitatl Stiles Dapnrirt~ent of[Auat~

      Ortle~ o~ At12cl~ed ~ilus:
      t)Application For Bvrrower'x OeMnae To Repayment Loran Oischurge
      2)State Oocurnarrt: N~TICL OF INTENT Untler Oath
      3 )State DocumanF. IE3fiG Do&rtl ACtio~ UecsmhAr 9, 2U(11 on Potliatry Uegree AUMwiZation
      4)Faderet Document: IPEOS checkcA 6~)t "PlncCmenr leivicea fa.r Prognvn G.rsiplclerti' 11109-2(111
      5:~ S~h~ill College ?(N13-20U! View~bnok: False and Ueccpri~e
      ri) i,elter fo .4Lm'1'inklrmnn from ('(.YI'liiAPMA;GPME
      ,)Uean of K~i.:J ind Frankli~i. Pudi:atry ('~~Ilege.:Vnncy Parsley Lub6ying em .6cl~a11'of.iinerican Yuiiiainc Mrdicni Asuciali.m
      '
      H)AP~iA litti 4)b 1'ORM: ~Chix Poi~ric~il (.)igani~ari.iii Gavc Money T'o i7eYcnd:~i~iti, u i11if~~) iirgn~n~wiiam> n, a. "t;oliege Aiivi~or Yniy~nm (.irant..
      9~ A. E~ichn        oirii ri t}.i.~ixnnd M~iriin
       10? F'irnt An~cnded (;on~hlxinr
      l A) Moi.ion 1>ar Reaonsidcrninn iPcUnon f.r Rchrnnr.~ti
       1 '_)I.)ate of klnrnllm~nt
      1.i).Dc~rec

         Sin~~rn-ly,
         Annie Aba~a~iri


         t4 FIIeS   :i.aMS:




               APPLICATION FOR BOflROWEF'3 OEFEN3E TO REPAYMENT LOAN ~ISCHAPGEdocx
         ~~    1~31~6
         ~'~ NOI-Pudiatry,pW


         ~~~~~ Scholl New Opurafir~ And:w Dvyrve~Oru~itinp Auttrority For IntivperMant Insirtu~ais IBHE.pcfl
         3'Y'.: :~'Sk6
         r"""~ 2U06-09,Ntlf
         3•$- i :."ikn
        '...k 200E-t 0.ytl!
             i
        ~:.
          '.f
          a    (''i YFi


              .:%6W:i
           „~ 1Otl-1 l.PNf
              : :i Y.[i

9        = e•, zo,~-,<,.P~,

10




                                                                                               30
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 31 of 50 Page ID #:31



       f_'"1 2zaK~
            2013-14.pdi
            22Bk9

            2008-09 SCPM Yewboak copy.pdf
            2~e9B

            APMACPMECOTH memo.pdf
            52k3

            Nancy Lobbying.pdf
            41~k8


       D    AbazariBrief(dra99~)•P~
            1341B

            Degrae.pdf
            193kE3

 1

 2             50.         In the clear and present fact the DOE's expressed statements, and having

 3   been placed on notice by Dr. Abazari, the DOE knowingly and willingly has billed for

4    70,000 dollars in interests alone, on top of 200,000 dollars of loans, and continues to bill

5    and charge Dr. Abazari for said federal loan interest payments, for the federal service of

6    "Placement Services for Program Completers," that it did not render pursuant to 20 USC

7    §1094(x)(1); 20 USC§1094(x)(17); 18 U.S.C. §245(b)(1)(E); 20 U.S.C. §1087e (h); 20

8    USC §1092(a)(1)(M), pursuant to 20 USC §1094(x)(7); 20 USC §1092(a)(1)(J), pursuant

9    to 20 USC §1094(x)(7); 20 USC §1092(a)(1)(G)(i)-(ii), pursuant to 20 USC §1094(x)(7);

10   20 USC §1094(x)(21); 20 USC §1092(a)(1)(R), pursuant to 20 USC §1094(x)(7).

11             51.         On Apri17, 2017, Dr. Abazari confronted the DOE in formally stating to

12   Hon. John B. King expressly "I am a victim of Rosalind Franklin's conversion of

13   United States federal loan monies"(emphasis supplied):




                                                      31
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 32 of 50 Page ID #:32




                                         April 7, 2016-Open Letter
           To:
           Hon. John B. King, Jr.
           Acting Secretary of Education
           Lyndon Baines Johnson Department of Education Building
           400 Maryland Avenue SW
           Washington, DC 20202

           Re: Abazari v. Rosalind Franklin University of Medicine and Science, et al.
           -Circuit Court Number- l3 L 0856
           -U.S. Supreme Court Docket No. 15-8158(Cert Denied 4/4/16)

                   My name is Armin Abazazi and I am a victim of Rosalind Franklin's conversion
            of United States federal loan monies for unauthorized criminal conduct under 110 ILCS
            1010/8 in the deliberate failing to provide placement into residency upon graduation (See.
            Notice of Intent, Doctor of Podiatric Medicine Program)(See. IPEDs: Institutional
           Characteristics Part C.#8) and substantial misrepresentation (34 CFR 668.71(b)) in their
           Podiatry Program (See. Abazari v. Rosalind Frankling University of Medicine &Science,
           IL App.2d 140952 at x[33). Mr. Abazari approaches the issue by simple question and
 1         answer:


 2          52.      In its May 2, 20161etter, Defendant DOE acted with malicious intent to

 3   defraud and cheat Dr. Abazari—by preventing Dr. Abazari from controlling his risk of

4    loss by prolonging the period by which needless accruement of interest on his loans

 5   occured—through further misrepresentations to prolong the duration of the scheme to

6    defraud Dr. Abazari of money for services it does not render pursuant to 20 USC

 7   §1094(a)(1); 20 USC §1094(a)(17); 18 U.S.C. §245(b)(1)(E); 20 U.S.C. §1087e (h); 20

8    USC §1092(a)(1)(M), pursuant to 20 USC §1094(a)(7); 20 USC §1092(a)(1)(J), pursuant

9    to 20 USC §1094(a)(7); 20 USC §1092(a)(1)(G)(i)-(ii), pursuant to 20 USC §1094(a)(7);

10   20 USC §1094(a)(21); 20 USC §1092(a)(1)(R), pursuant to 20 USC §1094(a)(7).

11

12

13




                                                       32
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 33 of 50 Page ID #:33



 1          53.     In its May 2, 20161etter, the DOE misrepresents to Dr. Abazari that he

 2   had "private student loan debt" and therefore "U.S. Department of Education (ED)does

 3   not have jurisdiction," as noted by the scanned screenshot of the letter:




4




                                                 33
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 34 of 50 Page ID #:34



 1           54.     On May 13, 2016, Dr. Abazari responded by confronting the DOE on its

     blatant misrepresentation of the facts stating "I did not indicate anywhere on the April 7,

 3   20161etter that I intended or was seeking to have my `private student loan debt be

 4   discharged.' I don't have private loans." and further drawing attention to the DOE's

 5   conscious disregard of student rights on four additional separate occasions:


        Mr. King,I am respectfully responding to your mailed packet and approaching you once
        again with my grievances:

                Firstly, I believe you are in error because I did not indicate anywhere on the April
        7, 20161etter that I intended ar was seeking to have my "private student loan debt be
        discharged". I don't have private loans. In fact, the first few sentences of my letter state
        in unequivocal terms that "I am a victim of Rosalind Franklin's conversion of United
        States federal loan monies for unauthorized criminal conduct under 110 ILCS 1010/8"
       (emphasis supplied)(See. 4/7/16 Open Letter). I believe if your office was truly
        concerned and interested in actually stopping the fraud and suffering incurred, both my
        email address and phone number were listed in the letter as points of further information
        gathering, rather, you made it easy for yourself and sent out a nonspecific and
       inapplicable letter; you simply disregarded my concerns as though they didn't exist. In
       fact, I tried to contact your office by phone on my own initiative but the number you have
        provided to the public is useless. I tried to call the Office of the Secretary at least four
        different times on 4/25/16, 4/26/16, 5/5/16, and 5/6/16 and I was led directly to a voice
       recording with no call back, regardless if a message was left or not.



 7          55.      Not until after having been confronted by Dr. Abazari, did the DOE then

8    admit and change its position to Dr. Abazari being a federal student loan borrower by

9    stating, on June 10, 2016,"we regret the difficulties that you are experiencing with your

10   federal student loan debt," as noted by screenshot of the letter:

11




                                                    34
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 35 of 50 Page ID #:35



                                                                ~,
                                                          ,~:
                                                          l '~,
                                                          .~~~;.~,.M


               Mr.Armin Abazari
               74 PdaE;onal Place
               I;vine. Catiforn~a 5?00?-0703

               pear Mr. At~~zan

               Thank y~ for your mgWry to Secretary Kmg reg3rcling your concern at~out EhB i~fial student
               loar~ r~ebt that yn~ obFamed while attending Rosalind Franklin University of {vTedf~in~ and SCiB~ee.
               You are asking for total (oan fo~givenass for your te~eral student loan ddbt beCduS@'yC~u b@lieve
               that yeu vverti a vii:tim of fraud You stag that Rosalind Franklin 1Jniversdy tJffBred fats~ed ''
               d~igrees that ha•.•e no mafr~~t value.

               VYe understand your cur~cem regarding Rosaaind Franklin University of M~dkGne afld Science,
               aiad w•e regret the difficuttles that you are exp~2rienci~g with your federal sfk~dent Ivan d2bt. You
               staic~d that your balar~r_.~ thpt has increased fo over $20L1,6G0 You explained ih8f fhb s~ho~l has
               a history ox federal indictments and civil fraud claims_ at~d you want the SchpW to be held .
               accountable

               l hF Fromi~snry• notes that a borrower signs Gefore receiving a rederal stud~rst teen spEGifies thAt
               the borrower is responsible for paying all accrued interest exc.~pt for inCefesE ¢aid by thB federal
               government for s+,~bs3dfzeci loans during in-school, ~rac~, and defermertt pQfiOdS. TFIe promissory
               rr~te is a binding legal documFnt. ANhen a burrower signs tt, he or She i3 a~[e¢tRg ttj repay tElB
               loan 3ccordir;y tv the pron~is~ry rtctite's terms.

              U ndprihe #~w,,you may be eiiplbfe Pox a borro~.v~r defense to repayment dis~fla[ge of the ~(liam
              ~_ Ford [3ir~eCi Ltsans {Direct Loans i that you secured to attend a school it that 5et~boi committ2d
              frausi by cti~3~~ somst#iing er failing to do something, n-~isrepresented fts sesvia$&, oilofhenxise
              vFot8t8d ap~iE~6l~ State law rr~lated Eo your loans a the educational services for tivFi~ch yoG paid.
              This qn apply tp you rc~rdtess of whether your school closed or you are ofttertivise eligible for a
              loan disGharrg~ under other appticabie taws. The law requires borrowers to Submit a ci~[m it1 ortler
              to reCeiv@ debt reEief. Through trrewer defense to repayment, you may ~e able to haue your
              enU~  .. outstanding f?deral Direct Lu2n forgiven and be refmhur5ed for amounts you hav8 already
               paid

               Flease npte that the U.S. Department ut Edur~tion lED) w~Ii acknowled~e~e bo~'toweYsclairn
               cinder state law as a defense to re~~ayment ~f a Loan o~iiy ~f the c3ute of action directly relates to
               the Ioan or to the scha.,I's provision of educational services for which th~`Ipatt W8S prG~ViLled.!t wi0
               not rec.~nize~ as a deferne against repayment cf the loan, borrower rf~iiEtg that 2te hOY dineCUy
               related In tl~e Joan or the educational sr~ivices, such as personal Injury tort a~timS,pr ~)3ims based
               on alle~at+C~ns ~f harassment. ED is creating a p«:~::ess to make ~t as easy a5 passiblafor
               borro.vers who attended schools chat did not meet teg~l pbligations to seek ban forgiveness
               ldisctlarge) based cn borrower defense to repayment

              ivtore infomiatiorF on borran~e! dFfense to repayment in~~luding a l,orrower defense claim form For
              ~.~Xrow?rs fo usA. and how fu ~t your 4oan discharged ~r~il1 be made avaiiabtf. ~t
              h[t~5 1lstudzntaid etl gv ~iSa%f?A~',~-roans/Tc~givenFss~anrc11 ~3tionit~u~ravu~r-de[~ntic~ at a later
              time.




                                                                -   t ~ .,   r




                    The DOE has caused Dr. Abazari to incur $107,340 dollars in excess

3   beyond the average loan debt for podiatry students at RFUMS, where Dr. Abazari has

4   loan debt of $272,000 dollars, and still accruing, compared to the average podiatry loan

5   debt for RFUMS at $162, 660.




                                                               35
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 36 of 50 Page ID #:36



 1           57.    DOE used interstate wire for its scheme to defraud byway of Internet, by

 2   and through the form of the online IPEDS system, specifically designed to convey

 3   information of services to borrowers, to achieve its scheme to defraud Dr. Abazari of

 4   money for service in placement it did not render.

 5          58.     Defendant used the interstate wire for its scheme to defraud by way of

 6   Internet online IPEDS system, in the ordinary course of business, by representing

 7   "placement services for program completers" to student loan borrowers in the same place

 8   under the category of institutional characteristics, over the span of 5 years, when said

 9   services were not provided, despite mandates under 20 USC §1094(a)(1); 20 USC

10   §1094(a)(17); 18 U.S.C. §245(b)(1)(E); 20 U.S.C. §1087e (h); 20 USC §1092(a)(1)(M),

11   pursuant to 20 USC §1094(a)(7); 20 USC §1092(a)(1)(J), pursuant to 20 USC

12   §1094(a)(7); 20 USC §1092(a)(1)(G)(i)-(ii), pursuant to 20 USC §1094(a)(7); 20 USC

13   §1094(a)(21); 20 USC §1092(a)(1)(R), pursuant to 20 USC §1094(a)(7).

14          59.     Dr. Abazari could only access said information by using the DOE's

15   specially disgned and created IPEDS data selection system accessed through the use of

16   this specially created wire.

17          60.     In every possible manner herein alleged, the DOE sought to capitalize on

18   Dr. Abazari's weakened physical condition, in calculated and coordinated attacks, to

19   increase physiological harm, and to overpower Dr. Abazari objections, using force and

20   inducing emotional submission—through a psychological state of learned helplessness:
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 37 of 50 Page ID #:37




 1

 2   (Left—On or around February 7, 2016) (Right—On or around November 14-2010)

 3                                    CAUSE OF ACTION 2:

 4                (WIRE FRAUD 18 U.S.C. §1341—STATE OF ILLINOIS)

 5          61.     Dr. Abazari repeats and realleges each and every allegation contained in

6    paragraphs 1 through 60 as if fully set forth herein.

 7          62.     Screen Shot of United States Department of Education Public Records

8    provides public association of National Education Statistics with the DOE's mark "U.S.

9    Department of Education" within the use of interstate wire communications:

      National Center for Education Statistics - http://nces.ed.gov
      U.S. Department of Education
10

11          63.     Screen Shot of the DOE's public records specifically indicate that the

12   DOE holds out to Dr. Abazari, and podiatry students, the certification mark goods and

13   services "CIP Code 51.2101," in association with National Education Statistics

14          "[d]efinition: a program that prepares individuals for the
15          independent professional practice of podiatric medicine, involving
16          the prevention, diagnosis, and treatment of diseases, disorders, and
17          injuries to the foot and lower extremities. Includes instruction in
18          the basic medical sciences, anatomy of the lower extremity,
19          functional orthopedics, foot biomechanics, podiatric radiology,
20          dermatology, podiatric surgery, podopediatrics, sports medicine,
21          physical diagnosis, emergency medicine and traumatology,
22          practice management, and professional standards and ethics"
23
24   by and through the use of specially created interstate wire communications:




                                                 37
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 38 of 50 Page ID #:38



                                                     ,,,~~~ ElWCA410H3ATISt'9CS




      CIP 2010 f _ .~~~ ~~~r,                        rr<~ ~,F ~=,N.,>, ,<                      ~~ ~;~,
       Detail for CIP Code 51.2101                                                                             ~> ~~*
                                                                                                                  ~°~
       Title: Podiatric Medicine/Podiatry.
       Definition: A program that prepares individuals for the independent professional practice of podiatric
       medicine, involving the prevention, diagnosis, and treatment of diseases, disorders, and injuries to the foot
       and lower extremities. Includes instruction in the basic medical sciences, anatomy of the lower extremity,
       functional orthopedics, foot biomechanics, podiatric radiology, dermatology, podiatric surgery, podopediatrics,
       sports medicine, physical diagnosis, emergency medicine and traumatology, practice management, and
       professional standards and ethics.
       Action: No Substantive Changes

        -~ Crosswalk :':




 1

             64.        The forgoing is the mark of the State of Illinois, a state seal:




 3

 4           65.       Screen Shot of State of Illinois's, Illinois Board of Higher Education,

 5   public records providing public notice of the association of State of Illinois's seal and

6    copyright of "State of Illinois" with DOE's certification mark for goods and services

 7   "CIP Code 51.2101" and DOE's certification mark for goods and services "Podiatric

8    Medicine/Podiatry," pursuant to the Lantham Act(15 U.S.C. § 1127: "certification

9    mark"), and Defendant RFUMS's podiatry program, for the period 2008, by and through

10   the use of specially created interstate wire communications:

11
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 39 of 50 Page ID #:39




                                                                                                                                     ~t~   ~~a~ut~'

     S~arc~a ~~sult:
     Survey.                          Fali Enrollment (2008)               InstiEiiiicn Sector.           All Sectors and Institutions
      Field of Study/Programs: Podiatric Medicine/Podiatry. [51.2101] Qegree Le~rel:                      All Degree and Certificate Groups
      Group by'                Year,Sector,Institution,Deg. Lvl       Res~~lt:                            Numbers
     4 rows) returned from the query!
                                _~_~
      ~A~re~~ft E~ecl                                       ~~`°`~~`~'

                      ,,r             „.                                 Uccl~
        ~Yvar     G',>~.,r 'r,tt~ti                                       ~ti'~                                   i~iaiu    ~~male         i~tal

                         £Rosalind Franklin University of Medicine 8      ~8      Doctoral Professional
     '^ 2~~,- ~     3                                                                                                 p0;       154:           359:
                          Science                                                 Practice




3   public records providing public notice of the association of State of Illinois's seal and

4   copyright of "State of Illinois" with DOE's certification mark for goods and services

5   "CIP Code 51.2101" and DOE's certification mark for goods and services "Podiatric

6   Medicine/Podiatry," pursuant to the Lantham Act(15 U.S.C. § 1127: "certification

7   mark"), and Defendant RFUMS's podiatry program for the period 2009, by and through

8   the use of specially created interstate wire communications:




                                                                         39
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 40 of 50 Page ID #:40




                                                                                                                                        ~d~~~             r
      ~~ar~h Result:
      Survey:                  Fall Enrollment (2009)                Inst€Eut€on Sector:                   All Sectors and Institutions
      Field of StudyrPrograms: Podiatric Medicine/Podiatry.[51.2101] Qegree Level:                         All Degree and Certificate Groups
      Group by:                Year,Sector,Institution,Deg. Lvl      Result:                               Numbers
      4 rows) returned from the query!
       Microsoft ~cel                                       ~    '"t""

       Year       o ~•pr ~r   it t .:_                                   Crag .                                   td<al.-    r :m:~!e           .r'.a';
                                                                          L':

                        ~ Rosalind Franklin University of Medicine &      1B      ;Doctoral Professional                          157;,               380
       2009 ~       3                                                                                                 2p3
            i           ;Science                                                  ;Practice



                                                                                      Independent NFP Inst.
       2009         3                                                                                                 223'         157::              380'.:
                                                                                                     total:
                                                                                                                                ,,..
       2p(~? ',                                                                              2EtpSYBgr Tatel          223      " t57                  3~f'




 1

2                 67.         Screen Shot of State of lllinois's, Illinois Board of Higher Education,

3    public records providing public notice of the association of State of Illinois's seal and

4    copyright of "State of Illinois" with DOE's certification mark for goods and services

5    "CIP Code 51.2101" and DOE's certification mark for goods and services "Podiatric

6    Medicine/Podiatry," pursuant to the Lantham Act(15 U.S.C. § 1127: "certification

7    mark"), and Defendant RFUMS's podiatry program for the period 2014, in the use of

8    interstate wire communications:




                                                                         40
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 41 of 50 Page ID #:41




           ~s~~..~,.                               Yilinois Higher Education Enrollments 8~ Degrees Systerre                                                                   ~~~     ~~ ~ '~
       Search FfesuEt;
       Survey:                    Fall Enrollment(2014)                 3restitution Sector;                                                     All Sectors and Institutions
       Field of Siudy.%Pro{{ram.: Podiatric Medicine/Podiatry.[51.2101] Degree Level:                                                            Doctoral Professional Practice [18]
                                  Vear,Sector,Institution,Deg. Lvl,Cip                                                                           Numbers
       Group hy:                                                        gtsuEt:
                                  Code
      ;5 rows) returned from the query!


                                                                                                   E
                                                                     ,t,.~~                                                               `F         air              T
         ^.:~     ::'   `..~     r:.;,ti~u:~~~r~
                                                         tu.l       .


                                  Rosalind Frankl..n                           Health:.

      i 2014 '.         3      '. University of           ~8            5~     Professions
                                                                                                       14   190 '.       13   ~ 03               o         2      7       14      22     365[
                                  Medicine 8                                   antl Relaletl
                                  Science                                      Programs                             '.

                                 Rocallnd Frenkiln                                  DoeMni
                        3      ; U~liV0fs1~Y oT           1B    i                       P1'of.
       2076                                                                                            t4   190          13   1D3 '.             O         2      7       14      21     385
                                 Medlclrw 6                                         Praatice'.
                               . SGlenee
                               '                                                        Total                                        '.




                                                                              '. IntlePantlenf:
       2014 '.          3                                                            NFP Irmt          14   l90          73   '103               O         2      7       t4      22     366
                                                                                         Total -

       2ula                                                                      ~Y4~[                 to   '19f/        t3   Yfl3.             D        '. 2     7       14      22     068'




        Copyright 2b]t                                              ~          alT ll7itlg33   ikt'11~~~~ 4d.~           SFT~ [Y1~R            ~it4 :.      d1«llt iitf, .?•...

 1

 2                      68.                 As noted by a screen shot of the Illinois Board of Higher Education public

 3   records, the State of Illinois makes the admission by and through the use of specially

4    created interstate wire communications that

5                       "[a]fter graduation Scholl College places its graduates in 24 month
6                       and 36 month residency training programs located across the
7                       United States. Upon completion of training, podiatric physicians
8                       prepare for state professional state licensure examinations as well
9                       at board certification examinations":




                                                                                                                 41
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 42 of 50 Page ID #:42



     .a~11 ~4T&~' 4G                                                          m °~ pi'V1                                                                  ~' ~'~`~ C_~~

       '~t~illi~~n                             ib~te.~r~/c~....Q~_Fin~h~.pr,f



               Fe.~cH ~*;~~°~~~T~rrne rtteC•:~~o +i~nec•,~L 5C!lt3CH.-1lR. 1X't1.~Lt~avt bf. SCTiULL
                                                         C'I.I~LLE:i:E: +U(~ i'L3D7.'l'Y"Itit' ~iE.i1tC°L'wk:.

          (Yrt-4:':cm~usn

                •      ~lls4f)PF1tu 4)~~S)+~f:64YEi' ~s{i"4jlC: RfA
                      'Bas~}~+:lar rxf' ccer,~.c. in F3ir~3a~~:d<-m} Sci:•.s,c.,;..

                       The }isK~rian Tf. 1°,~z~-h l'n#~^~a~vrF n~`1-Y~-atfh S~Pemcer`Thr [°hica~,o Ateefi<csd ScBacrod EF~I.::t~15;`C2~.1S~
           has ent~rcd icatn ~n ~rrca~tnc~~n wstLc sht 1?r. ~4:E3iarn ~k4. SaEacnEl C<=11~n~ ct E'uik>,~trc. Aiatlicinc ia~+•uH~.~lcag
           tF~c ee~asa~!nlca' x+f ~~..ca- . r Fc R~ali c <.jCc~zc. to il'~t`i:e,; ~fS as ~ :If :,: ti3E ~*€~+~ic~.) ~ ~ ~~t> Eat" ~r#au€fi C'r~ltc~~c
           ies~m i'ar:eli4%~~.' :sA 1~3tl3 *.. 37C.rer}acrrri 4t, 4_'hxt-~~~i~c~, [8liiutia:~ise ?"I. I i~ £ :~.ES's c.~na~us tzx~a3ed i~¢ ?verrtEv
           Chica~tu+~ "i'A~c ~..a;ia~ itic~o ~.=I" ~ac~aHt Ca9tcgr's ~.cescts and r:ha~ ~.xi[iticw re-tc~c.zaresu tat 'dort€3 C'4~aicu,~n tsiUs
           f~[ ll~ti.`C,'7~1~ 7~h~.e•.a ScF~.slf i:~e,>ilryc ac &}Mr icacux}~ i.(I~~e`-+vrntr~.i t#rr 3"ii{#S.t ?+dS ,~yS7s+atr.

                      ]~;r~,,h t.,~ai~ >: ~irz:. €hraugh e6tr zec.arl+,- ah:.e~afirc:d 5chc~-!! C'~>Cleg~., vx•Flt. req~er~r eFe~a-~ nari.(~ars~aat~~~+n r~s
           ~s:~irst tta~ t7em.u-x ~::<r' PixdaaFri.c Mr:<3it-4tx.; ;T.~.P.~rf.T end tlxv F3actxs;Fcir tvS 5 c~:n.;c d B,S.:3 ice Hiry[~.>~%~;~1 Sc.~cuu~a
           t+r ~Ewthtmt+; isa#creer~ as exate~eex~ ctuc [arasleysit+et ar! pn-~cii atria- eote¢IKci¢s~_ '[7xe gsu>gr;sxrsv ui.[ract pr~st~nie>ert&
           sx~$rnrs c m~tin~ in a,~;~ tks~s~ 'i ie i3se 4U's Yrccn ttte atrrPrnir            r ~€ xe~kes a~t~ e~yar+:.~--sumsk~~. Y"rent nsamv
                                                                                             '
           sWRecr Yc urse8 ai! rtt4iael gsa>~ap.+. CrznsC.u7x ~a~ i~lsc~ C~'argr<ruiag +n~zl3 ren5r'na 8lcs 5am~ .an psra•~:~zcru~3y u>fS`essc? hy°


                       SaucBcntss r.-Sau srn cru~cai3cc! per~cest ra~i<k-~.~a:r a*f ntxrsika 7~ex;puateon L~r ~*~x,tli?a~c&onml xeea~~•s, ~Eac-Pa
           ~aY,=~k arEspsr~xtirtsat~ik Xt~i. tyi tlrr xttIId~n~e ,¢¢fn4{itc~a! [i m:~~~^+: ~r h.~4~2~.ac7axi~Lxib trr ,t~#t~steia;Cai xktl}~rc"~.. i2r ~ac~,h
           case a raarFiatacxe nntst cnmsl~e P34 ~xemexc~er ~rrdli h.~+urs ~E3< quarter h~irrsj a£ c«u¢xc. wds& mac- :scx
           3.:.crixE-"stew! cr*il~~~ ar tuyia~crxity yxri~vr €ate e~rt~i~rt~.c-ni. Y. nndicSa2.~s .err r~~q~-iee~t t.: ~ompYcxc zh:* >w--leciiea§
           K".,{tc•{~c .ikdrnig~Man T"z~c t~i(::.47"B protar tc> ~km i,~:~iF>s~,

                       Schc~l~ C"~sl?rye r~t~~`is a..~ mnzric=ufi.~x€ 9ei ~xni.~~mrs i*~r y~rsr.r .figr a ~cs~a4 cnr~l€n~:nr ~ctf tx~.ro~zd~m::~~.- a~•
           36tJ siw3~G~. ~tuaTeeatx nsurgste~£~ti a cnrei.        -c~lxataz e~ectyprixxi <oY~Eoazic- ~sc:irr~c~„ eIiroic.a3 sCa~~tac~ easci ci~ektl~:g~
           tr..a nines+. .4fi'Fpr ggx:rtiaealieoae Swh~.1i f"'ril3C~~ pOsss:t.~. die ~a:e:aef~tscrn ie~ 24 ~~ut t"v rr!n~ttlla er;.r;.i~7Giyc;Y tsu>re n,~!
           psxis~:ra~ms t~cate~i t8~~:.augS~iut tP~c E~nired ~tare~. l3gawn c:Uaaq~ils:tsc+gin ui'trsfeesng, yT+salist~ec }thys~ci cna paw>psrc.
           f,):~ tiII»1G: r)r[C~t ~G'~tiiyxHl A, ~lS4CE1`3AIf1` (~~KAS3'FttYii{1CT61S :l;i M'C~e .q.~ ttf)~t[i.~ CCJF3~61'N46f~~i3 4%:lT8Si1d~EE41%K. •a<~81~~~ ~~i>~~4:~'..4'
           ~
           Fas~.a tr;nineat ayxp¢cu~"tttj;La[p~ os.s+-xhircB raf t94r praa;Hiaiea,~!, yrsytlt:~trixtx in 1ha t€netex8'~it~lexc..

                       -F.'ls+z 57.1'„~1 t t g.r;x:n +~ ac-crrcYi#¢~! Rya 1F.e t:G>~teax;i) bqi T'ax3ia4rna ~.An~1si-ae4 I~~(!~i at:~~x s>i rt~u
           A    .s~i~.axt f'axtrairsc tf:aEirc~t A~.~e,ciair mss ~ncS ,F;r~eave~ri b}~' th4 l.sa~l6exl Stut4s I7cgnarfsttce~~ ~i [~s+cE~~,etiaaes.
           1~4,Ia5.~t tit;S ea asc~cw6aced Gam° 1~Rx.? kt%~er L;exrnia%~ t`nm€raurs9sNy ;~sx~i e~ ;x rc~a~iber .-.1' ah~ h~~a~r3ti 4,'<~a~tr~s:
           ri.~~s.n~.::r.icvn of"C":t€E~:~c:+xa~.i Ss:txru>.t~,.

                     P~rg~.ns ie~scnsss.~-d in. abaaicsing fusthcr inYi~nrrasic~n .v'M~us chip ttxire shauld E~nt~~~s: ~3ar~rs
           3~ueriatlgr, 3_~~3 Gixiu¢~ $#u;~ I~tuaci,.C21s+~gu. El93rtaua. ~6<~CN. fY3~'?) i78f-;;~~1~2_




                                                                                                                                                           ~ ~
                                                                                    ~~`
                                                                                    ;~                                         ~X                           ~'~




2          69.               As noted by a screen shot of Defendant RFUMS syllabus, transmitted to

3   students through the use of interstate wire communications, Defendant RFUMS makes

4   the admission,from 2008-2012, by and through 16 of its faculty members, on at least 6

5   separate occasions, that "100% of graduates will be placed in a CPME approved

6   residency program."



                                                                                                   42
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 43 of 50 Page ID #:43



 1          70.    As noted within two screen shots of Defendant RFUMS Applied

 2   Biomechanics Clinical Capstone syllabus, taught by Dr. Beth Jarrett, Dr. David Kibrit,

 3   Mr. Ryan Cruz, Dr. Neil Horsley, Mr. Steve Kim, and Dr. Bijan Najafi, transmitted to

 4   students through the use of interstate wire communications, Defendant RFUMS makes

 5   the admission, from 2011-2012, that "100°Io of graduates will be placed in a CPME

6    approved residency program":


                              ~~~l~,,Easi r t•f~ ~!~
                              y

                                ,•_                          ~ j2,
                         ~$` ~                                       c~
                                                                      ~
                         w r
                         A'                                          v
                         z                                            y
                         ~:                                  -Y~~    ~
                         s
                          o~                                      ~n
                            :
                            ,
                            ;                                   ym
                                                               0


         Applied Biomechanics Capstone Clinical Experience (PAPB705)

                                         Syllabus

                          Department of Applied Biomechanics
                     Dn William M. Scholl College ofPodiatrxc Medicine

                             2011 -2012 ACADEMIC YEAR

                                   Co-Course Coordinators:
                                   Beth Jarrett, DPM,C.Ped.
                                        G7114A, Ext 8415
                               Beth.Jarrett@rosalind Franklin.ed u
                               Office hours: M,W,F noon-1:IIOpm

                                       David Kibriy DPM
                                           EaR. 8448
                               David.Kibrit@ rosalindfranklin.edu
                               Office hours: By appointment only

                            Administrative Assistank Linda Miranda
                                            E~et. 8412
                             Linda.Miranda@ rosalindfranklin.edu

                                      Instructional Staff:
                                         Ryan Crews
                                         Neil Horsley
                                          Steve Kim
                                         Bijan Najafi
                                                                          March 8,2011




7




                                                                     43
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 44 of 50 Page ID #:44



         Programmatic Outcomes

         #1    Graduates will pass the National Board of Podiatric Medical Examiners
               Part I and Part II examinations.

         #2    Graduates will pass the Clinical Competency Exam

         #3    100s of graduates will be placed in a CPME approved residency program.

         #4    The College will graduate students that have the necessary knowledge,
               skills, and attitudes for entry into residency training.

         #5    The College will graduate at least 90% of matriculated students.
 1

 2            71.      As noted within two screen shots of Defendant RFUMS Principals of

 3   Podiatric Radiology syllabus, taught by Mr. Casimir Strugielski, Dr. Robert Baron, Dr.

4    Daniel Evans, Dr. Adam Fleischer, transmitted to students through the use of interstate

5    wire communications, Defendant RFUMS makes the admission,from 2009, that "100%

6    of graduates will be placed in a CPME approved residency program":

7

                    PRAD 601 A+B
                 Principles of Podiatric
                       Radiology
               Dr. William M. Scholl College ofPodiatric Medicine
                            Department ofRadiology




                    2009 Academic Year
                          Casimir Strugielski, BS, RT(R), ASRT
                      Course Coordinator and Instructor ofRecord
          Office: Clinics Rosalind Franklin University of Medicine and Science
                                 Phone: 847-578-8435
            Hours: Monday-Friday by appointment (contact Ms. Ulrich x8432)

                                      Lecturers:
                                   Dr. Robert Baron
                                   Da Daniel Evans
                                  Dr. Adam Fleischer


~~




                                                               44
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 45 of 50 Page ID #:45



            PROGRAMMATIC OUTCOMES:

                  1.    Graduates will pass the National Board of Podiatric Medical Examiners Part I and
                        Part II examinations with an overall pass rate above the national average.
               2.       100% of graduates will be placed in a CPME approved residency program.
               3.       The College will graduate students that have the necessazy knowledge, skills, and
                        attitudes for entry into residency training.
               4.       The College will graduate at ]east 90% of matriculated students.
               5.       Graduates will be capable of servicing their student loan debt.
               6.       The College will graduate students that understand the need for and have participated
 1                      in community service.


 2          72.        As noted within two screen shots of Defendant RFUMS Podiatric

 3   Medicine and Podiatric Orthopedics Component syllabus, taught by Dr. Philip

 4   Gianfortune, Dr. Ruth Songco-Chi, Dr. James Wrobel, Dr. Beth Jarrett, and Dr. Debra

 5   Levinthal, transmitted to students through the use of interstate wire communications,

6    Defendant RFUMS makes the admission, from 2008-2009, that "100% of graduates will

 7   be placed in a CPME approved residency program":




                                                         45
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 46 of 50 Page ID #:46




                            William M. Scholl of Podiatric Medicine

                                       Department of Medicine


                      ESSENTIAL SKILLS CLINICAL EXPERIENCE
                  Podiatric Medicine and Podiatric Orthopedics Component
                                    (PMED 60~ A,B,C)




                                      Academic Year 2008-2009
                                                (Ravisea ]/2008)




     CHAIRMAN
     Philip Gianfortune, DPM

     CLINICAL EXPERIENCE COORDINATOR
     Ruth Songco-Chi, DPM
     James Wrobel, DPM

     CLINICAL EXPERIENCE FACULTY
     Beth Jarrett, DPM
     Debra Levinthal, DPM




 1

                                       Programmatic Outcomes



           #1    Graduates will pass the National Board of Podiatric Medical Examiners Part
                 and Part II examinations with an overall pass rate above [he national average.

           #2    100% of graduates will be placed in a CPME approved residency program.

           #3    The College will graduate students that have the necessary knowledge, skills,
                 and attitudes for entry into residency training.

           #4    The College will graduate at least 90% of matriculated students.

           #5    Graduates will be capable of servicing their student loan debt.

          #6     The College will graduate students that understand the need for and have
2                participated in community service.




3               73.        As noted within two screen shots of Defendant RFUMS Peripheral

4    Vascular Diseases syllabus, taught by Dr. Paul Lucas, transmitted to students through the

5    use of interstate wire communications, Defendant RFUMS makes the admission,from




                                                                               46
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 47 of 50 Page ID #:47



 1   2008-2009, that "100% of graduates will be placed in a CPME approved residency

 2   program":

                                     William M. Scholl College u( Podiatric Medicine

                                                Department of Medicine

                                        PERIPHERAL VASCULAR DISEASES
                                                 (PMED602)


                                               Academic Year 2008-2009
                                                     rne~sw -u^_ooe~




            Course Coordina[or /Instructor:
            Paul Lucas, DPM
            Plocaadom@vahoo.com

            Olfice Hours by appointment through:
            Ms. Vemel] Williams
            AdminisVa[ive Assistan~ x-8412
            vamell.williasCrosalindfrnnklin.eAu




3

                                              Proerammatic Outcomes

       #t      Graduates will pass the National Boazd of Podiatnc Medical Examiners Part I and Part II
               examinations with an overall pass rate above the national average.

       #2      100% of graduates will be placed in a CPME approved residency program.

       #3      The College will graduate students that have the necessary knowledge, skills, and attitudes foc
               entry into residency training.

       #4      The College will graduate at leas[ 90% of matriculated students.

       #5      Graduates will be capable of servicing [heir swden[ loan debt.

       #6      The College will graduate students that understand the need for and have participated in
               community service.

4

5               74.           As noted within two screen shots of Defendant RFUMS's Internal

6    Medicine syllabus, taught by Dr. Severko Hrywnak, transmitted to students through the

7    use of interstate wire communications, Defendant RFUMS makes the admission,from




                                                                                   47
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 48 of 50 Page ID #:48



 1   2008-2009, that "100% of graduates will be placed in a CPME approved residency

 2   program":


                                  William M. Scholl College of Podiatric Medicine

                                              Department of Medicine


                                              INTERNAL MEUICINE
                                                  (PMED 704)



                                              Academic Year 2008-2009
                                                   [Re~iRad 6l2OO8)




        C4Yrs¢ Coordinator / InsLNctor
        Severko Eirywnak

        Office Hours by APpoinlment
        OfFice Phone: 312. 685-8400




3

                                              Programmatic Outcomes


        #1     Graduates will pass[he National Boazd of Podiatric Medical Examiners Part I and Part
               examinations with an overall pass rate above the national average.

        #2     100% of graduates will be placed in a CPME approved residency program.

        #3    The College will graduate students that have the necessary knowledge, skills, and attitudes for
              entry into residency training.

        #4    The College will graduate at least 90% of ma[riwlated students.

        #5     Graduates will be capable of servicing their student loan debt.

        #6    The College will graduate students that understand the need for and have participated in
              community service.

4

5            75.           As noted within two screen shots of Defendant RFUMS's Internal

6    Medicine syllabus, taught by Dr. Ronald Wise, transmitted to students through the use of




                                                                           :
                                                                           '
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 49 of 50 Page ID #:49



 1   interstate wire communications, Defendant RFUMS makes the admission, from 2008-

 2   2009, that "100°Io of graduates will be placed in a CPME approved residency program":


                                   William M.Scholl College of Podiatric Medicine

                                                Department of Medicine

                                                   DERMATOLOGY
                                                    (PMED 603)


                                               Academic Year 2008-2009
                                                      (Revised 6/27/087




        Course Coordinator / Instructor
        Ronald Wise, MD,FAAD

        Office Hours by appointment:
        Of1Sce Phone: 312 332-7303
        FAX: 3]2 332-7202




 3
                                              Programmatic Outcomes

       #1      Graduates will pass the National Board of Pediatric Medical Examiners Pazt I      and Part II
               examinations with an overall pass rate above the national average.

       #2      100% of graduates will be placed in a CPME approved residency program.

       #3      The College will graduate students [hat have the necessary knowledge, skills, and attitudes for
               entry into residency training.

       #4      The College will graduate at least 90% of matriculated students.

       #5      Graduates will be capable of servicing their student loan debt.

       #6     The College will graduate students that understand the need for and have pazticipated in
              community service.
4

5            76.        As noted by several screenshots of Defendant APMA records, RFUMS

6    has achieved performance of placement into residency by funding of residency programs,



                                                                   49
Case 8:19-cv-01290-DMG-FFM Document 1 Filed 06/27/19 Page 50 of 50 Page ID #:50



 1   in the course of ordinary business, directly at Columbia Kingwood Medical Center, 7

 2   DVAMC hospitals, Lakeview Hospital, Northern Virginia Podiatric Residency Program,

 3   Riverside Osteopathic Hospital, Scholl College of Podiatric Medicine, Sinai Hospital of

 4   Baltimore, St. Mary of Nazareth Hospital Center, Vancouver Hospital, and Western

     Pennsylvania Hospital:

       ROSTER OF RESIDENCY PROGRAMS BY SCHOOL

       BARRY UNIVERSITY CCH(70I OF POD7ATRI               M .nIC'INE
       BUSPM - POR Program
       BUSPM/Cedars Medical Center - PPMR
       BUSPM/Cedars Medical Center - PSR-12
       Decatur Hospital
       Des Moines General Hospital
       Doxey-Hatch Medical Center
       DVAMC -Brockton-West Roxbury
       DVAMC -Miami
       DVAMC -New York, NY
       DVAMC -North Chicago
       DVAMC -Northport, NY
       D VAMC -Tampa
       DVAMC -West Palm Beach
       Lee County Center for Foot 8z Anlcle Surgery
       Memorial Same Day -West
       Palmetto General Hospital
       Westchester General Hospital

       CALIFORNIA COLLEGE OF PODIATRIC MEDICINE
       CCPM - LAC/LISC Medical Center
       CCPM -Pacific Coast Hospital - POR
       CCPM -Pacific Coast Hospital - PPMR
       CCPM -Pacific Coast Hospital - PSR-24
       Columbia Kingwood Medical Center (Houston Podiatric Foundation)
       Community Hospital Medical Center
       DVAMC -Loma Linda
       DVAMC -Manhattan
       DVAMC -Phoenix
       DVAMC -San Francisco
       DVAMC -Tucson

       COLLEGE OF PODIATRIC MEDICINE AND SURGERY
       CPMS -Orthopedic Program
       CPMS -Primary Care Program
       CPMS -Surgical Program

       OHIn     O       F OF PODIATRi     M .D7     NE
       Community General Hospital
       Doxey-Hatch Medical Center
       Dunlap Memorial Hospital
       DVAMC -Chillicothe
       DVAMC -Denver
       DVAMC -East Orange
       DVAMC -Huntington
       DVAMC -Lebanon
       DVAMC -Richmond
       DVAMC -Tampa
       Harvard Community
       Hu Hu Kam Memorial
       Jewish Hospital of Cinncinati
       Kaiser Permanente Medical Center
6      Kennedy Hospital System




                                               50
